Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 1 of 64 PageID: 855




     Exhibit B to Answer - Part 2
Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 2 of 64 PageID: 856
Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 3 of 64 PageID: 857
Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 4 of 64 PageID: 858
Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 5 of 64 PageID: 859
Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 6 of 64 PageID: 860
Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 7 of 64 PageID: 861
Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 8 of 64 PageID: 862
Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 9 of 64 PageID: 863
Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 10 of 64 PageID: 864
Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 11 of 64 PageID: 865
Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 12 of 64 PageID: 866
Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 13 of 64 PageID: 867
Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 14 of 64 PageID: 868
Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 15 of 64 PageID: 869
Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 16 of 64 PageID: 870
                                             Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 17 of 64 PageID: 871
                                                                                                                              ůŝĞŶƚ͗    ^ĂǁŚŶĞǇ͕ZĂŵĞƐŚΘŚĂĚƌǁĂũ͕EŝŶĂ
                                                                                                                        >ŽĐĂƚŝŽŶ͗         ϰϱKĂŬĞŶĚZĚ͘^ŽƵƚŚ͕tĞƐƚKƌĂŶŐĞ͕E:
                                                                                                                          ůĂŝŵη͗        ϬϰϳϱϭϵϬϬϲϴϴϲͲŚƵďď
                                 ƐƐĞƚ/Y͕>>
                                 ϭZĞƐĞƌǀĞZĚ͕͘ĂŶďƵƌǇ͕dϬϲϴϭϬͲ;ϮϬϯͿϳϳϱͲϳϭϮϭ                                               ͬ>͗     ϬϮͬϮϱͬϮϬϭϵ

                                                                                                           ϬϰͬϭϲͬϮϬ                        ŽŵďŝŶĞĚŽŶƚĞŶƚZĞƉŽƌƚͲϬϰͬϭϲͬϮϬ
               ŝƐƉŽƐŝƚŝŽŶ͗ /ƚĞŵƐdŽƚĂů>ŽƐƐŽƌKŬĂǇ
                /ͬ>ŽƚEŽ͘                 ĞƐĐƌŝƉƚŝŽŶ                                                     ZĞŵĞĚǇ   YƚǇ             h͘ŽƐƚ       ǆƚ͘ŽƐƚ         dĂǆ         dŽƚ͘>ŽƐƐ
               ǆ^EZϭϬϬϯϳ       ƌƚ͕ĂƐƚWĂƉĞƌ͕d΀Ž͗ϯϰǆϮϭ͕ƵŶĨƌĂŵĞĚ͕ǁŚŝƚĞ͕ƐŝŐŶĞĚ͕ƚŝƚůĞĚ͕           d>       ϭ         ϭ͕ϭϬϬ͘ϬϬ      ϭ͕ϭϬϬ͘ϬϬ       ϳϮ͘ϴϴ      Ψϭ͕ϭϳϮ͘ϴϴ
               ƚƚŝĐ            ŵƵůƚŝƉůĞƉŝĞĐĞƐďƌŽŬĞŶŽĨĨ΁Ͳ
               ΎΎϬΎΎ
               ǆ^EZϭϬϬϭϯ       ƌƚ͕ĂƐƚWĂƉĞƌ͕WĂƉĞƌ^ĐƵůƉƚƵƌĞ΀Ă͗ϯϵǆϮϱ͕ƐŝŐŶĞĚ͕ƵŶĨƌĂŵĞĚ͕               d>      Ϯ         ϱϬϬ͘ϬϬ      ϭ͕ϬϬϬ͘ϬϬ       ϲϲ͘Ϯϱ      Ψϭ͕Ϭϲϲ͘Ϯϱ
               ƚƚŝĐ            ĐŽĐŬůĞĚ΁ͲZ/,ZZKz
               ΎΎϭϱϲΎΎ
               ǆ^EZϭϬϬϰϴ       ƌƚ͕ĂƐƚWƵůƉ΀ϮϵǆϮϮ͕ƵŶĨƌĂŵĞĚ͕ƉĞĂƌůǇǁŚŝƚĞ͕ĐŽƌŶĞƌƐĚĂŵĂŐĞĚ͕             d>      ϭ         ϱϬϬ͘ϬϬ         ϱϬϬ͘ϬϬ    ϯϯ͘ϭϯ      Ψϱϯϯ͘ϭϯ
               ƚƚŝĐ            ĚŝƌƚǇ΁ͲZ/,ZZKz
               ΎΎϭϱϲΎΎ
               ǆ^EZϭϬϬϰϵ       ƌƚ͕ĂƐƚWƵůƉ͕,ŽŵĂŐĞĂ^ĂŶηϯ΀ϮϵǆϮϭ͕ƵŶĨƌĂŵĞĚ͕ƉƵƌƉůĞƚŽŶĞƐ͕             d>      ϭ         ϱϬϬ͘ϬϬ         ϱϬϬ͘ϬϬ    ϯϯ͘ϭϯ      Ψϱϯϯ͘ϭϯ
               ƚƚŝĐ            ĚĂƚĞĚΖϴϰ͕ǁƌĂƉƉĞĚŝŶƉůĂƐƚŝĐ΁ͲZ/,ZZKz
               ΎΎϭϱϲΎΎ
               ǆ^EZϭϬϬϯϬ       ƌƚ͕ŽůŽƌĞĚƚĐŚŝŶŐ͕>ŝƚƚůĞ^ĂƌĂŚ΀Ž͗ϭϴǆϭϰ͕Ă͗ϭϯϭͬϮǆϵ͕ĂƌƚǁĂƚĞƌ      d>      ϭ          ϳϱ͘ϬϬ        ϳϱ͘ϬϬ    ϰ͘ϵϳ       Ψϳϵ͘ϵϳ
               ƚƚŝĐ            ĚĂŵĂŐĞĚ͕ĨƌĂŵĞϮϭͬϰǆϭ΁ͲhZZ/ZΘ/s^
               ΎΎϬΎΎ
               ǆ^EZϭϬϬϮϯ       ƌƚ͕/ŶŬŽŶWĂƉĞƌ͕dƌĞĞ΀Ž͗ϮϭϭͬϮǆϭϳϭͬϮ͕Ă͗ϭϱǆϭϮ͕ƐŝŐŶĞĚ͕Ăƌƚ         d>      ϭ         ϭ͕ϱϬϬ͘ϬϬ      ϭ͕ϱϬϬ͘ϬϬ       ϵϵ͘ϯϴ      Ψϭ͕ϱϵϵ͘ϯϴ
               ƚƚŝĐ            ĨŽǆĞĚĂŶĚƐƚĂŝŶĞĚ͕ŵĂƚƐƚĂŝŶĞĚ͕ďůĂĐŬůĂƋƵĞƌĞĚĨƌĂŵĞϭǆϯͬϰ΁Ͳ
               ΎΎϭϮϳΎΎ          WKZdZ͕&/Z&/>
               ǆ^EZϭϬϬϰϳ       ƌƚ͕>ŝƚŚŽŐƌĂƉŚ͕ůŽƐƐŽŵƌĂŶĐŚ΀Ž͖ϮϳǆϯϮ͕Ă͗ϭϵǆϮϯ͕ƵŶĚĞƌŐůĂƐƐ͕         d>      ϭ         ϭ͕ϭϱϬ͘ϬϬ      ϭ͕ϭϱϬ͘ϬϬ       ϳϲ͘ϭϵ      Ψϭ͕ϮϮϲ͘ϭϵ
               ƚƚŝĐ            ŵŽůĚŝŶƐŝĚĞ͕ĂƌƚǁĂƚĞƌƐƚĂŝŶĞĚ͕ĨƌĂŵĞϭϯͬϰǆϯͬϰ͕ƐŝŐŶĞĚ͕
               ΎΎϭϯϬΎΎ          ŶƵŵďĞƌĞĚϱϵͬϭϮϬ΁Ͳ</<KDKd/
               ǆ^EZϭϬϬϮϮ       ƌƚ͕>ŝƚŚŽŐƌĂƉŚ͕ůŽǁŶƐŝŶƚŚĞEĞǁƐ΀Ž͗ϭϰϭͬϮǆϭϵϯͬϰ͕Ă͗ϴǆϭϯ͕           d>      ϭ         ϴϬϬ͘ϬϬ         ϴϬϬ͘ϬϬ    ϱϯ͘ϬϬ      Ψϴϱϯ͘ϬϬ
               ƚƚŝĐ            ďůĂĐŬǁŽŽĚĞŶĨƌĂŵĞǁŝƚŚŐŽůĚĨŝůĞƚϭͬϮǆϯͬϰ͕ƐŝŐŶĞĚŝŶƉĞŶĐŝů͕Ăƌƚ
               ΎΎϬΎΎ            ƐƚĂŝŶĞĚĂŶĚĐŽĐŬůĞĚ΁Ͳ:K^W,,/Z^,
               ǆ^EZϭϬϬϭϮ       ƌƚ͕DƵůƚŝŵĞĚŝĂ͕ΗtĂƚĞƌĨĂůůηϵϴΗ͕WĂƉĞƌ^ĐƵůƉƚƵƌĞ΀ƵŶĨƌĂŵĞĚ͕Ă͖ϯϵ            d>      ϭ         ϭ͕ϭϬϬ͘ϬϬ      ϭ͕ϭϬϬ͘ϬϬ       ϳϮ͘ϴϴ      Ψϭ͕ϭϳϮ͘ϴϴ
               ƚƚŝĐ            ǆϮϱ͕ĐĂƐƚƉĂƉĞƌ͕ƐŝŐŶĞĚŽŶǀĞƌƐŽ΁Ͳ
               ΎΎϭϱϵΎΎ
047519006886




               ǆ^EZϭϬϬϬϵ       ƌƚ͕DƵůƚŝŵĞĚŝĂ͕ϮĨůŽǁĞƌƉŽƚƐ͕WĂƉĞƌZĞůŝĞĨ΀Ž͗ϰϯǆϯϬ͕Ă͗ϯϬϭͬϮǆ         d>      ϭ         ϭ͕ϯϯϯ͘ϯϯ      ϭ͕ϯϯϯ͘ϯϯ       ϴϴ͘ϯϯ      Ψϭ͕ϰϮϭ͘ϲϲ
               ƚƚŝĐ            ϮϮ͕ĨƌĂŵĞĚ͕ƐŝŐŶĞĚĂŶĚĐŽƉǇƌŝŐŚƚĞĚ͕ϯĚŝŵĞŶƐŝŽŶĂů͕ĐŽĐŬůĞĚ͕ĚŝƌƚǇ͕
               ΎΎϳϰΎΎ           ĨůŽĂƚŵŽƵŶƚĞĚŽŶďůĂĐŬƉĂƉĞƌďŽĂƌĚ΁ͲZ/,ZZKz


                                                                                                                                                                                              ƉĂŐĞϭ
                                             Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 18 of 64 PageID: 872
                                                                                                                              ůŝĞŶƚ͗    ^ĂǁŚŶĞǇ͕ZĂŵĞƐŚΘŚĂĚƌǁĂũ͕EŝŶĂ
                                                                                                                        >ŽĐĂƚŝŽŶ͗         ϰϱKĂŬĞŶĚZĚ͘^ŽƵƚŚ͕tĞƐƚKƌĂŶŐĞ͕E:
                                                                                                                          ůĂŝŵη͗        ϬϰϳϱϭϵϬϬϲϴϴϲͲŚƵďď
                                 ƐƐĞƚ/Y͕>>
                                 ϭZĞƐĞƌǀĞZĚ͕͘ĂŶďƵƌǇ͕dϬϲϴϭϬͲ;ϮϬϯͿϳϳϱͲϳϭϮϭ                                               ͬ>͗     ϬϮͬϮϱͬϮϬϭϵ

                                                                                                           ϬϰͬϭϲͬϮϬ                       ŽŵďŝŶĞĚŽŶƚĞŶƚZĞƉŽƌƚͲϬϰͬϭϲͬϮϬ
               ŝƐƉŽƐŝƚŝŽŶ͗ /ƚĞŵƐdŽƚĂů>ŽƐƐŽƌKŬĂǇ
                /ͬ>ŽƚEŽ͘                  ĞƐĐƌŝƉƚŝŽŶ                                                    ZĞŵĞĚǇ   YƚǇ             h͘ŽƐƚ       ǆƚ͘ŽƐƚ         dĂǆ         dŽƚ͘>ŽƐƐ
               ǆ^EZϭϬϬϭϱ       ƌƚ͕DƵůƚŝŵĞĚŝĂ͕ϯĂŶĐĞƌ͕WĂƉĞƌ^ĐƵůƉƚƵƌĞ΀ĐŽƌŶĞƌďĞŶƚĂƚĂƌĞĂ             d>       ϭ         ϭ͕ϬϬϬ͘ϬϬ      ϭ͕ϬϬϬ͘ϬϬ       ϲϲ͘Ϯϱ      Ψϭ͕Ϭϲϲ͘Ϯϱ
               ƚƚŝĐ            ŽĨƐŝŐŶĂƚƵƌĞ͕ďƵŝůĚŝŶŐĚĞďƌŝƐŝŶƐŝĚĞƉůĂƐƚŝĐǁƌĂƉƉĞƌ͕ĂƌƚŝƐƚΖƐƉƌŝŶƚ΁Ͳ
               ΎΎϭϮϰΎΎ          ZhEK>h^/
               ǆ^EZϭϬϬϭϰ       ƌƚ͕DƵůƚŝŵĞĚŝĂ͕DƵƐŝĐĂů/ŶƐƚƌƵŵĞŶƚƐ͕WĂƉĞƌ^ĐƵůƉƚƵƌĞ΀ϯϵǆϮϰ͕               d>      ϭ         ϭ͕ϯϯϯ͘ϯϯ      ϭ͕ϯϯϯ͘ϯϯ       ϴϴ͘ϯϯ      Ψϭ͕ϰϮϭ͘ϲϲ
               ƚƚŝĐ            ƵŶĨƌĂŵĞĚ͕ƐůŝŐŚƚůǇĐŽĐŬůĞĚ͕ƐŝŐŶĞĚ΁ͲZ/,ZZKz
               ΎΎϳϲΎΎ
               ǆ^EZϭϬϬϭϬ       ƌƚ͕DƵůƚŝŵĞĚŝĂ͕^ƚĂĐŬĞĚ^ŚĂƉĞƐ΀Ă͗ϯϴǆϮϲ͕ƐŝŐŶĞĚƚǁŝĐĞ͕ƉĂƉĞƌ              d>      ϭ         ϭ͕ϯϯϯ͘ϯϯ      ϭ͕ϯϯϯ͘ϯϯ       ϴϴ͘ϯϯ      Ψϭ͕ϰϮϭ͘ϲϲ
               ƚƚŝĐ            ĐŽĐŬůĞĚΘǁĂƚĞƌƐƚĂŝŶĞĚ΁ͲZ/,ZZKz
               ΎΎϳϱΎΎ
               ǆ^EZϭϬϬϬϯ       ƌƚ͕WĂŝŶƚŝŶŐ͕KŝůŽŶŽĂƌĚ͕^ƚŝůů>ŝĨĞ/ǀǇ΀Ž͗ϮϴϭͬϮǆϯϰϭͬϮ͕Ă͗Ϯϯǆ      d>      ϭ         Ϯ͕ϲϬϬ͘ϬϬ      Ϯ͕ϲϬϬ͘ϬϬ      ϭϳϮ͘Ϯϱ       ΨϮ͕ϳϳϮ͘Ϯϱ
               ƚƚŝĐ            Ϯϵ͕ĨƌĂŵĞ͗ŽĂŬĐƵƌǀĞĚϮϯͬϰǆϮ͕ƐŝŐŶĞĚůŽǁĞƌƌŝŐŚƚ͕ĂƌƚĚĂŵĂŐĞĚ
               ΎΎϬΎΎ            ǁŝƚŚůĂƌŐĞǁĂƚĞƌůŝŶĞŝŶĐĞŶƚĞƌ͕ĐĂŶǀĂƐůƵŵƉǇ͕ĨƌĂŵĞĚĂŵĂŐĞĚ΁Ͳ
               ǆ^EZϭϬϬϬϲ       ƌƚ͕WĂŝŶƚŝŶŐ͕KŝůŽŶĂŶǀĂƐŽĂƌĚ͕&ůŽǁĞƌ>ŝŶĞĚZŽĂĚ΀Ž͗ϭϳϭͬϮǆ            d>      ϭ         Ϯ͕ϮϬϬ͘ϬϬ      Ϯ͕ϮϬϬ͘ϬϬ      ϭϰϱ͘ϳϱ       ΨϮ͕ϯϰϱ͘ϳϱ
               ƚƚŝĐ            ϮϭϭͬϮ͕Ă͗ϭϭϭͬϮǆϭϱ͕ĨƌĂŵĞϯϭͬϰǆϮϭͬϮǁŝƚŚůŝŶĞƌΘĨŝůĞƚ͕ƐŝŐŶĞĚ
               ΎΎϬΎΎ            ůŽǁĞƌůĞĨƚ͕ƚĞĂƌƵƉƉĞƌƌŝŐŚƚͬĐĞŶƚĞƌ͕ĨƌĂŵĞƉĂŝŶƚĨůĂŬŝŶŐ͕ĂƌƚŚĂƐ
               ǆ^EZϭϬϬϬϱ       ƌƚ͕WĂŝŶƚŝŶŐ͕tĂƚĞƌŽůŽƌ͕ĂŶĂĚŝĂŶ'ĞĞƐĞŽŶtŝůůĂƉĂĂǇ΀Ž͗ϭϳ              d>      ϭ         ϴϬϬ͘ϬϬ         ϴϬϬ͘ϬϬ    ϱϯ͘ϬϬ      Ψϴϱϯ͘ϬϬ
               ƚƚŝĐ            ϭͬϮǆϮϭ͕Ă͗ϭϭϭͬϮǆϭϰ͕ĨƌĂŵĞďƌŽǁŶǁŽŽĚϯͬϰǆϭͬϮ͕ĚŽƵďůĞ
               ΎΎϬΎΎ            ŵĂƚƚĞĚ͕ĂƌƚĐŽĐŬůĞĚ͕ǁĂƚĞƌƐƚĂŝŶĞĚŝŶĐĞŶƚĞƌ͕ĨƌĂŵĞŐŽƵŐĞĚ΁Ͳ
               ǆ^EZϭϬϬϬϴ       ƌƚ͕WƌŝŶƚ͕>ĞŽƉĂƌĚƵďƐ΀Ž͗ϭϱϭͬϰǆϮϬϯͬϰ͕Ă͗ϭϰǆϭϵϭͬϮ͕ĨƌĂŵĞ           d>      ϭ         ϭϬϬ͘ϬϬ         ϭϬϬ͘ϬϬ    ϲ͘ϲϯ      ΨϭϬϲ͘ϲϯ
               ƚƚŝĐ            ǁŽŽĚϭͬϮǆϭͬϮ͕ĨƌŽŵůĞŽƉĂƌĚĐƵďƐƉůĂǇŝŶŐďǇƌĂůƉŚƚŚŽŵƉƐŽŶ͕
               ΎΎϬΎΎ            ƉƌŝŶƚƌĞĨǌϯϳϮϱ͕ĐŽĐŬůĞĚ͕ǁĂƚĞƌƐƚĂŝŶĞĚĂůŽŶŐďŽƚƚŽŵĞĚŐĞ΁Ͳ
               ǆ^EZϭϬϬϬϰ       ƌƚ͕tĂƚĞƌŽůŽƌ͕tŽŵĂŶŽŶ,ŽƌƐĞ΀Ž͗ϭϳϭͬϮǆϭϯ͕Ă͗ϭϭϭͬϮǆϳ               d>      ϭ         ϰϱϬ͘ϬϬ         ϰϱϬ͘ϬϬ    Ϯϵ͘ϴϭ      Ψϰϳϵ͘ϴϭ
               ƚƚŝĐ            ϭͬϮ͕ĨƌĂŵĞŐŽůĚŐŝůĚĞĚϭǆϭ͕ďĞĂĚĚĞƚĂŝů͕ƐŝŐŶĞĚůŽǁĞƌƌŝŐŚƚ͕ŵĂƚ
               ΎΎϬΎΎ            ǁĂƚĞƌƐƚĂŝŶĞĚ͕ĂƌƚĐŽĐŬůĞĚ΁Ͳ,Z>^hZ/<
               ǆǌǆ^tϮϭϬϯϰ     ĂƐĞ͕/ŶƐƚƌƵŵĞŶƚ͕'ƵŝƚĂƌ΀ϭϱǆϰϭǆϱ͕ĐŽƌŶĞƌďĞŶƚ͕ŚĂƌĚǁĂƌĞƉŝƚƚĞĚ΁          d>      ϭ         ϮϬϬ͘ϬϬ         ϮϬϬ͘ϬϬ    ϭϯ͘Ϯϱ      ΨϮϭϯ͘Ϯϱ
               ƚƚŝĐ            ͲWh>Z^D/d,
               ΎΎϬΎΎ
047519006886




               ǆǌǆ^tZϮϭϬϱϰ     ƌĂǁŝŶŐ͕tŚŝƚĞŽŶůĂĐŬ͕^ƚŝĐŬ&ŝŐƵƌĞƐ΀ϭϮǆϭϲ͕ŝŶƐƚŽƌĞďŽƵŐŚƚ             d>      ϭ         ϭϬϬ͘ϬϬ         ϭϬϬ͘ϬϬ    ϲ͘ϲϮ      ΨϭϬϲ͘ϲϮ
               ƚƚŝĐ            ĨƌĂŵĞ΁ͲhE<EKtE
               ΎΎϬΎΎ


                                                                                                                                                                                              ƉĂŐĞϮ
                                             Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 19 of 64 PageID: 873
                                                                                                                               ůŝĞŶƚ͗        ^ĂǁŚŶĞǇ͕ZĂŵĞƐŚΘŚĂĚƌǁĂũ͕EŝŶĂ
                                                                                                                         >ŽĐĂƚŝŽŶ͗             ϰϱKĂŬĞŶĚZĚ͘^ŽƵƚŚ͕tĞƐƚKƌĂŶŐĞ͕E:
                                                                                                                           ůĂŝŵη͗            ϬϰϳϱϭϵϬϬϲϴϴϲͲŚƵďď
                                 ƐƐĞƚ/Y͕>>
                                 ϭZĞƐĞƌǀĞZĚ͕͘ĂŶďƵƌǇ͕dϬϲϴϭϬͲ;ϮϬϯͿϳϳϱͲϳϭϮϭ                                                ͬ>͗         ϬϮͬϮϱͬϮϬϭϵ

                                                                                                            ϬϰͬϭϲͬϮϬ                           ŽŵďŝŶĞĚŽŶƚĞŶƚZĞƉŽƌƚͲϬϰͬϭϲͬϮϬ
               ŝƐƉŽƐŝƚŝŽŶ͗ /ƚĞŵƐdŽƚĂů>ŽƐƐŽƌKŬĂǇ
                /ͬ>ŽƚEŽ͘                 ĞƐĐƌŝƉƚŝŽŶ                                                      ZĞŵĞĚǇ   YƚǇ           h͘ŽƐƚ             ǆƚ͘ŽƐƚ          dĂǆ         dŽƚ͘>ŽƐƐ
               ǆǌǆ^tZϮϭϬϬϲ     ƚĐŚŝŶŐ΀ďůĂĐŬΘǁŚŝƚĞ͕Ă͗ϵǆϮϭƚŽƌŶŝŶŵƵůƚŝƉůĞƉůĂĐĞƐ͕ŵĂƚƚĞĚ͕ŶŽƚ         d>       ϭ         ϮϱϬ͘ϬϬ           ϮϱϬ͘ϬϬ       ϭϲ͘ϱϲ       ΨϮϲϲ͘ϱϲ
               ƚƚŝĐ            ĨƌĂŵĞĚ΁ͲZKZd>K'E
               ΎΎϬΎΎ
               ǆǌǆ^tϮϭϬϱϱ     &ƌĂŵĞ΀ϭϴǆϮϭ͕ŵƵůƚŝƉůĞƉŝĞĐĞƐĐŚŝƉƉĞĚŽĨĨŽĨŐƵŝůĚŝŶŐ΁Ͳ                     d>      ϭ         Ϯ͕ϰϬϬ͘ϬϬ          Ϯ͕ϰϬϬ͘ϬϬ       ϭϱϵ͘ϬϬ       ΨϮ͕ϱϱϵ͘ϬϬ
               ƚƚŝĐ
               ΎΎϬΎΎ
               ǆǌǆ^tZϮϭϬϯϭ     >ŝƚŚŽŐƌĂƉŚ͕ŽůŽƌĞĚ͕dŚĞdƌŽƵƚƌŽŽŬ΀Ž͗ϭϯǆϭϴ͕Ă͗ϭϬǆϭϲ͕                  d>      ϭ         ϰϬϬ͘ϬϬ             ϰϬϬ͘ϬϬ     Ϯϲ͘ϱϬ       ΨϰϮϲ͘ϱϬ
               ƚƚŝĐ            ĐŽĐŬůĞĚ͕ƌĞƉƌŝŶƚĞĚĨƌŽŵĐŽƵƌŝĞƌΘŝǀĞƐ͕ĞĨƉĂůŵĞƌ͕ĚĞů΁Ͳ
               ΎΎϬΎΎ
               ǆ^tZϮϭϬϬϮ       >ŝƚŚŽŐƌĂƉŚ͕WĞŽƉůĞΘdƌĞĞƐŽŶ^ƚƌĞĞƚ΀Ž͗ϮϱǆϯϬ͕ŚĂƌŽůĚĂůƚŵĂŶĂƚ              d>      ϭ         ϯϬϬ͘ϬϬ             ϯϬϬ͘ϬϬ     ϭϵ͘ϴϴ       Ψϯϭϵ͘ϴϴ
               ƚƚŝĐ            ůŝŵŝƚĞĚĞĚŝƚŝŽŶƐ͕ĐŽĐŬůĞĚ͕ĨƌĂŵĞĚĂŵĂŐĞĚ͕ĂƌƚŝƐƚΖƐƉƌŽŽĨ΁Ͳ>dDE
               ΎΎϭϰϱΎΎ
               ^E^Wϳϳϳϵϱ        WĂŝŶƚŝŶŐ͕KŝůŽŶĂŶǀĂƐ͕'ĞŶƚůĞŵĂŶ΀Ž͗ϮϵǆϮϯ΁ͲW>͕                       K<       ϭ              Ϭ͘ϬϬ         Ϭ͘ϬϬ    Ϭ͘ϬϬ        ΨϬ͘ϬϬ
               ƚƚŝĐ            ZDZEd
               ΎΎϭϮϭΎΎ
               ǆ^EZϭϬϬϰϮ       WĂŝŶƚŝŶŐ͕KŝůŽŶĂŶǀĂƐ͕,ŽƵƐĞŽŶŵďĂŶŬŵĞŶƚ΀Ž͗ϯϬǆϰϰ͕Ă͗ϮϬǆ              d>      ϭ         ϰ͕ϬϬϬ͘ϬϬ          ϰ͕ϬϬϬ͘ϬϬ       Ϯϲϱ͘ϬϬ       Ψϰ͕Ϯϲϱ͘ϬϬ
               ƚƚŝĐ            ϯϰ͕ƉƌŝŽƌůĂƌŐĞƚĞĂƌƌĞƐƚŽƌĞĚ͕ŶŽƐŝŐŶĂƚƵƌĞ͕ƉĂŝŶƚĂŶĚĐĂŶǀĂƐďĂĚůǇ
               ΎΎϬΎΎ            ĚĂŵĂŐĞĚ͕ŐĞƐƐŽĞĚĨƌĂŵĞϱϭͬϮǆϮǁŝƚŚĨŝůĞƚĚĂŵĂŐĞĚ΁Ͳ
               ǆ^EZϭϬϬϭϵ       WĂŝŶƚŝŶŐ͕KŝůŽŶĂŶǀĂƐ͕/ŶĚŝĂŶDŽƚŝĨ΀Ž͗ϯϱǆϯϬ͕Ă͗ϮϵϭͬϮǆϮϱ͕             d>      ϭ         ϴϬϬ͘ϬϬ             ϴϬϬ͘ϬϬ     ϱϯ͘ϬϬ       Ψϴϱϯ͘ϬϬ
               ƚƚŝĐ            ĨƌĂŵĞϯǆϭϭͬϮ͕ĂƌƚŝƐƚƵŶĐůĞĂƌ͕ƉĂŝŶƚƐĐƌĂƉĞĚŽĨĨŝŶůĂƌŐĞĂƌĞĂƐ͕ŚŽůĞ
               ΎΎϬΎΎ            ŝŶĐĂŶǀĂƐ͕ŵŝƐƐŚĂƉĞŶĐĂŶǀĂƐ͕ƉĂŝŶƚůŝĨƚŝŶŐĨƌŽŵĨƌĂŵĞ͕ƐŝŐŶĞĚ͕
               ǆ^EZϭϬϬϮϱ       WĂŝŶƚŝŶŐ͕WĂƐƚĞů͕^ƚŝůů>ŝĨĞ&ƌƵŝƚ΀Ž͗ϮϰǆϮϳ͕Ă͗ϭϲǆϮϬ͕ĨƌĂŵĞϭϯͬϰǆ      d>      ϭ         Ϯ͕ϰϬϬ͘ϬϬ          Ϯ͕ϰϬϬ͘ϬϬ       ϭϱϵ͘ϬϬ       ΨϮ͕ϱϱϵ͘ϬϬ
               ƚƚŝĐ            ϭϭͬϮ͕ĨĂďƌŝĐůŝŶĞƌĂŶĚĂŶŐůĞĚĨŝůĞƚ͕ƐŝŐŶĞĚ͕ƵŶĚĞƌŐůĂƐƐ͕ĂƌƚǁĂƚĞƌ
               ΎΎϬΎΎ            ƐƚĂŝŶĞĚŽŶƵƉƉĞƌĞĚŐĞ͕΁Ͳ͘d&&KZ
               ǆ^EZϭϬϬϰϲ       WĂŝŶƚŝŶŐ͕tĂƚĞƌĐŽůŽƌ͕tŚŝƌůƉŽŽů΀Ž͗ϯϮǆϮϯ͕Ă͗ϮϵǆϮϮ͕ĨůŽĂƚ                 d>      ϭ         ϭ͕ϰϬϬ͘ϬϬ          ϭ͕ϰϬϬ͘ϬϬ        ϵϮ͘ϳϱ      Ψϭ͕ϰϵϮ͘ϳϱ
               ƚƚŝĐ            ŵŽƵŶƚĞĚ͕ƐŝŐŶĞĚ͕ĚĂƚĞĚΖϳϳ͕ΗŵŽŶŽƉƌŝŶƚΗ͕͘ŵĞƚĂůĨƌĂŵĞ΁Ͳ
               ΎΎϬΎΎ            Z/,ZZKz
047519006886




               ǆ^tZϮϭϬϯϯ       WĂŝŶƚŝŶŐ͕tĂƚĞƌĐŽůŽƌ͕tŽŵĂŶ΀Ž͗ϵǆϭϮ͕ƵŶĨƌĂŵĞĚ͕ŶƵŵďĞƌĞĚ                     d>      ϭ         ϮϱϬ͘ϬϬ             ϮϱϬ͘ϬϬ     ϭϲ͘ϱϲ       ΨϮϲϲ͘ϱϲ
               ƚƚŝĐ            ϭϬͬϳϮ͕ĨŽŽƚƉƌŝŶƚŽŶĂƌƚǁŽƌŬ΁ͲZK>
               ΎΎϬΎΎ


                                                                                                                                                                                                     ƉĂŐĞϯ
                                             Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 20 of 64 PageID: 874
                                                                                                                            ůŝĞŶƚ͗    ^ĂǁŚŶĞǇ͕ZĂŵĞƐŚΘŚĂĚƌǁĂũ͕EŝŶĂ
                                                                                                                      >ŽĐĂƚŝŽŶ͗         ϰϱKĂŬĞŶĚZĚ͘^ŽƵƚŚ͕tĞƐƚKƌĂŶŐĞ͕E:
                                                                                                                        ůĂŝŵη͗        ϬϰϳϱϭϵϬϬϲϴϴϲͲŚƵďď
                                 ƐƐĞƚ/Y͕>>
                                 ϭZĞƐĞƌǀĞZĚ͕͘ĂŶďƵƌǇ͕dϬϲϴϭϬͲ;ϮϬϯͿϳϳϱͲϳϭϮϭ                                             ͬ>͗     ϬϮͬϮϱͬϮϬϭϵ

                                                                                                         ϬϰͬϭϲͬϮϬ                        ŽŵďŝŶĞĚŽŶƚĞŶƚZĞƉŽƌƚͲϬϰͬϭϲͬϮϬ
               ŝƐƉŽƐŝƚŝŽŶ͗ /ƚĞŵƐdŽƚĂů>ŽƐƐŽƌKŬĂǇ
                /ͬ>ŽƚEŽ͘                 ĞƐĐƌŝƉƚŝŽŶ                                                   ZĞŵĞĚǇ   YƚǇ           h͘ŽƐƚ         ǆƚ͘ŽƐƚ         dĂǆ         dŽƚ͘>ŽƐƐ
               ǆ^tZϮϭϬϮϭ       WŚŽƚŽ͕Ƶƚ'ůĂƐƐ͕Η'ůĂƐƐǁĂƌĞΗ΀ƵŶĚĞƌŐůĂƐƐ͕ŶŽƚĞĚĂƐƉƌŽŐƌĞƐƐ              d>       ϭ         ϯϱϬ͘ϬϬ       ϯϱϬ͘ϬϬ      Ϯϯ͘ϭϵ       Ψϯϳϯ͘ϭϵ
               ƚƚŝĐ            ĂƐƐŝŐŶŵĞŶƚ͕ŵƌƚηϰ͕͕ǁĂƚĞƌŵĂƌŬŽŶďĂĐŬŝŶŐ͕ƉŚŽƚŽŐůƵĞĚƚŽ
               ΎΎϬΎΎ            ďĂĐŬďŽĂƌĚ͕ĨŽǆŝŶŐ͕Ž͗Ϯϭǆϭϳ͕Ă͗ϭϬǆϭϯ΁Ͳ</E<hD:
               ǆ^EZϭϬϬϭϲ       WŚŽƚŽŐƌĂƉŚ͕ΗtŝƌĞůĞƐƐdĞůĞŐƌĂƉŚǇΗ͕WŚŽƚŽŽĨĚŝƐŽŶΘ,ƵƚĐŚŝŶƐŽŶ             d>      ϭ         ϱϬϬ͘ϬϬ         ϱϬϬ͘ϬϬ    ϯϯ͘ϭϯ       Ψϱϯϯ͘ϭϯ
               ƚƚŝĐ            ΀Ž͗ϭϬǆϭϮ͕Ă͗ϲϭͬϮǆϴϭͬϮ͕ƐŵĂůůůĞĨƚƉŝĞĐĞŽĨƉŚŽƚŽƚŽƌŶ͕
               ΎΎϬΎΎ            ŵŽƵŶƚŝŶŐďŽĂƌĚďƌŽŬĞŶƚŽƉΘďŽƚƚŽŵ͕ƐŝŐŶĞĚ;ĞĚŝƐŽŶƉůƵƐŝůůĞŐŝďůĞͿ
               ǆ^EZϭϬϬϰϰ       WŚŽƚŽŐƌĂƉŚ͕tŝŶĚŝŶŐƐŝŶ,ŽůůĂŶĚ΀Ž͖ϭϱǆϭϳ͕Ă͗ϳǆϵ͕ƐŝŐŶĞĚ͕ĨůŽĂƚ        d>      ϭ         ϭϱϬ͘ϬϬ         ϭϱϬ͘ϬϬ    ϵ͘ϵϰ       Ψϭϱϵ͘ϵϰ
               ƚƚŝĐ            ŵŽƵŶƚĞĚŽŶƉĂƉĞƌ͕ƉĂƉĞƌďĂĚůǇƐƚĂŝŶĞĚ͕ƐŝŐŶĞĚĂŶĚƚŝƚůĞŽŶƐƚĂŝŶĞĚ
               ΎΎϬΎΎ            ŵŽƵŶƚďŽĂƌĚ͕ƉŚŽƚŽŽŬ΁Ͳt>>Ehdd/E'
               ǆ^EϭϬϬϰϭ       WŽƐƚĞƌ͕DŽŶĞƚzĞĂƌƐĂƚ'ŝǀĞƌŶǇ΀ƵŶĨƌĂŵĞĚ͕ϯϬǆϮϰ͕ŽŶĨŽĂŵďŽĂƌĚ΁            d>      ϭ          ϳϱ͘ϬϬ        ϳϱ͘ϬϬ    ϰ͘ϵϳ       Ψϳϵ͘ϵϳ
               ƚƚŝĐ            Ͳ
               ΎΎϬΎΎ
               ǆ^EϭϬϬϰϱ       WŽƐƚĞƌ͕WŽƌƐĐŚĞ΀Ž͗ϮϴǆϮϮ͕Ă͗ϮϮǆϭϲ͕ĨƌĂŵĞĚƵŶĚĞƌŐůĂƐƐ͕ŐůĂƐƐ          d>      ϭ         ϮϱϬ͘ϬϬ         ϮϱϬ͘ϬϬ    ϭϲ͘ϱϲ       ΨϮϲϲ͘ϱϲ
               ƚƚŝĐ            ďƌŽŬĞŶ͕ŵĞƚĂůĨƌĂŵĞ΁Ͳ
               ΎΎϬΎΎ
               ǆ^EϭϬϬϮϰ       WŽƐƚĞƌ͕dŚĞŶĚƌĞDĞǇĞƌ'ĂůůĞƌŝĞƐ΀ϯϳǆϮϰ͕ƵŶĨƌĂŵĞĚ͕ŽŶ                   d>      ϭ          ϳϱ͘ϬϬ        ϳϱ͘ϬϬ    ϰ͘ϵϳ       Ψϳϵ͘ϵϳ
               ƚƚŝĐ            ĨŽĂŵďŽĂƌĚ΁Ͳ
               ΎΎϬΎΎ
               ǆǌǆ^tϮϭϬϮϴ     WŽƐƚĞƌ͕sĂŶŽŶŐĞŶ΀ϯϮǆϮϯ͕ƐƚĂŶĚĂƌĚŵĞƚĂůƉŽƐƚĞƌĨƌĂŵĞ΁Ͳ                 d>      ϭ          ϳϱ͘ϬϬ        ϳϱ͘ϬϬ    ϰ͘ϵϳ       Ψϳϵ͘ϵϳ
               ƚƚŝĐ
               ΎΎϬΎΎ
               ǆǌǆ^tZϮϭϬϱϲ     WƌŝŶƚ͕^ĞĂƚĞĚtŽŵĂŶǁŝƚŚŽŐ΀Ž͗ϮϵǆϮϮ͕Ă͗Ϯϭǆϭϯ͕ƐŝŐŶĞĚ͕Ăƌƚ           d>      ϭ         Ϯϵϱ͘ϬϬ         Ϯϵϱ͘ϬϬ    ϭϵ͘ϱϰ       Ψϯϭϰ͘ϱϰ
               ƚƚŝĐ            ƐƚĂŝŶĞĚŝŶĐŽƌŶĞƌ͕ŵĂƚƚĞĚΘĨƌĂŵĞĚ΁Ͳ,EZzDd,ZhZE
               ΎΎϬΎΎ
               ǆ^tϮϭϬϰϬ       WƌŝŶƚ͕tŝŶƚĞƌdŝŵĞŽŶƚŚĞ&Ăƌŵ΀Ž͗ϭϯǆϭϳ͕Ă͗ϭϬǆϭϰ͕                    d>      ϭ         ϮϬϬ͘ϬϬ         ϮϬϬ͘ϬϬ    ϭϯ͘Ϯϱ       ΨϮϭϯ͘Ϯϱ
               ƚƚŝĐ            ƌĞƉƌŽĚƵĐƚŝŽŶ͕ƵŶĚĞƌŐůĂƐƐ͕ƐƚĂŝŶŝŶĐŽƌŶĞƌŽĨĂƌƚ͕ĨƌĂŵĞƐĞƉĂƌĂƚŝŶŐ΁Ͳ
               ΎΎϬΎΎ
047519006886




               ǆ^EZϭϬϬϭϳ       ^ĐƵůƉƚƵƌĞ΀ƐƚŽŶĞŽƌŵĂƌďůĞ͕ďƌŽŬĞŶŝŶƚŽŵƵůƚŝƉůĞƉŝĞĐĞƐ͕ǁŽŽĚĞŶ             d>      ϭ         Ϯ͕ϱϬϬ͘ϬϬ      Ϯ͕ϱϬϬ͘ϬϬ      ϭϲϱ͘ϲϯ       ΨϮ͕ϲϲϱ͘ϲϯ
               ƚƚŝĐ            ďĂƐĞϭϭͬϮǆϱϭͬϮǆϳ΁Ͳ
               ΎΎϬΎΎ


                                                                                                                                                                                             ƉĂŐĞϰ
                                             Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 21 of 64 PageID: 875
                                                                                                                                  ůŝĞŶƚ͗        ^ĂǁŚŶĞǇ͕ZĂŵĞƐŚΘŚĂĚƌǁĂũ͕EŝŶĂ
                                                                                                                            >ŽĐĂƚŝŽŶ͗             ϰϱKĂŬĞŶĚZĚ͘^ŽƵƚŚ͕tĞƐƚKƌĂŶŐĞ͕E:
                                                                                                                              ůĂŝŵη͗            ϬϰϳϱϭϵϬϬϲϴϴϲͲŚƵďď
                                 ƐƐĞƚ/Y͕>>
                                 ϭZĞƐĞƌǀĞZĚ͕͘ĂŶďƵƌǇ͕dϬϲϴϭϬͲ;ϮϬϯͿϳϳϱͲϳϭϮϭ                                                   ͬ>͗         ϬϮͬϮϱͬϮϬϭϵ

                                                                                                           ϬϰͬϭϲͬϮϬ                               ŽŵďŝŶĞĚŽŶƚĞŶƚZĞƉŽƌƚͲϬϰͬϭϲͬϮϬ
               ŝƐƉŽƐŝƚŝŽŶ͗ /ƚĞŵƐdŽƚĂů>ŽƐƐŽƌKŬĂǇ
                /ͬ>ŽƚEŽ͘                 ĞƐĐƌŝƉƚŝŽŶ                                                      ZĞŵĞĚǇ      YƚǇ             h͘ŽƐƚ           ǆƚ͘ŽƐƚ          dĂǆ         dŽƚ͘>ŽƐƐ
               ǆ^EZϭϬϬϯϲ       ^ĐƵůƉƚƵƌĞ͕^ƉĂĐĞ^ŚƵƚƚůĞ͕,ŽŵĂŐĞƚŽĂůĚĞƌ΀ϰϴǆϮϬ͕ƚŝƉďƌŽŬĞŶ͕              d>          ϭ         ϯ͕ϬϬϬ͘ϬϬ          ϯ͕ϬϬϬ͘ϬϬ       ϭϵϴ͘ϳϱ       Ψϯ͕ϭϵϴ͘ϳϱ
               ƚƚŝĐ            ƚĞǆƚƵƌĞĚƐŚĂƉĞĚƉƵůƉ΁ͲZ/,ZZKz
               ΎΎϭϱϱΎΎ
               ǆǆ^EϭϬϬϰϬ      dƌĂĐŬƌĂĨƚŝŶŐDĂĐŚŝŶĞ΀ŵŽĚĞůů΁ͲDhdK,                                       d>         ϭ         ϴϬϬ͘ϬϬ             ϴϬϬ͘ϬϬ    ϱϯ͘ϬϬ       Ψϴϱϯ͘ϬϬ
               ƚƚŝĐ
               ΎΎϬΎΎ
               ǆ^tZϮϭϬϮϯ       tŽƌŬŽŶWĂƉĞƌ͕DƵůƚŝŵĞĚŝĂ͕ΗŽůůĂŐĞŵĞƌŝ/ŶĚŝĂŶϮΗ΀Ž͗ϮϰǆϮϬ͕Ă͗            d>         ϭ         ϳϱϬ͘ϬϬ             ϳϱϬ͘ϬϬ    ϰϵ͘ϲϵ       Ψϳϵϵ͘ϲϵ
               ƚƚŝĐ            ϭϲǆϭϮ͕ƵŶĨƌĂŵĞĚ͕ŵĂƚƚĞĚŽŶůǇ͕ďĂĐŬďŽĂƌĚǁĂƚĞƌƐƚĂŝŶĞĚ͕ƉĂƉĞƌ
               ΎΎϬΎΎ            ƵŶŐůƵĞĚ΁ͲZKz
               ^E^Wϳϳϳϴϴ        ƌƚ͕tĂƚĞƌĐŽůŽƌ'ƵĂĐŚĞΘ/ŶŬŽŶƉĂƉĞƌ͕Ăůŝ'ŝƌů΀Ž͗ϴǆϲϭͬϮ΁Ͳ             WƌŝŽƌ       ϭ              Ϭ͘ϬϬ         Ϭ͘ϬϬ    Ϭ͘ϬϬ        ΨϬ͘ϬϬ
               &ŽǇĞƌ            >EK͕EdKE/K
               ΎΎϱϭΎΎ
               ǆ^EZϭϬϬϱϴ       ƌƚ͕ĂƐƚWƵůƉ΀ϮϰǆϮϬ͕ƵŶĨƌĂŵĞĚ͕ǁŚĂƚĞ͕ĚŝƌƚůŝŶĞĂůŽŶŐďŽƚƚŽŵ͕         d>ŽƌZĞƐƚŽƌĞ   ϭ         ϰ͕ϭϰϭ͘ϬϬ          ϰ͕ϭϰϭ͘ϬϬ       Ϯϳϰ͘ϯϰ       Ψϰ͕ϰϭϱ͘ϯϰ
               'ƌĞĞŶŚŽƵƐĞ       ƉŝĞĐĞƐĨĂůůŝŶŐŽĨĨŝŶƐŝĚĞŽĨƐƚŽƌĂŐĞďĂŐ΁Ͳ>ZZzZ/sZ^
               ΎΎϬΎΎ
               ǆǆ^EZϭϬϬϱϵ      ƌƚ͕ĂƐƚWƵůƉ΀Ž͗ϴǆϭϮ͕Ă͗ϰǆϳ͕ƵŶĨƌĂŵĞĚ͕ŵĂƚƚĞĚŽŶůǇ͕ƚĞǆƚƵƌĞĚ           d>         Ϯ         ϭϱϬ͘ϬϬ             ϯϬϬ͘ϬϬ    ϭϵ͘ϴϴ       Ψϯϭϵ͘ϴϴ
               'ƌĞĞŶŚŽƵƐĞ       ůŝŶĞŶůŝŬĞƉĂƉĞƌ͕ŽŶĨŽĂŵďŽĂƌĚ΁ͲZ/,ZZKz
               ΎΎϬΎΎ
               ǆǆ^EZϭϬϬϲϬ      ƌƚ͕ĂƐƚWƵůƉ΀ŵĂƚƚĞĚŽŶůǇ͕ƵŶĨƌĂŵĞĚ͕ϮϰǆϮϰ͕ƚĞǆƚƵƌĞĚůŝŶĞŶůŽŽŬ            d>         ϯ         ϲϯϱ͘ϬϬ          ϭ͕ϵϬϱ͘ϬϬ       ϭϮϲ͘Ϯϭ       ΨϮ͕Ϭϯϭ͘Ϯϭ
               'ƌĞĞŶŚŽƵƐĞ       ƉĂƉĞƌ͕΁ͲddZ/hddKZKz
               ΎΎϬΎΎ
               ǆǆ^EZϭϬϬϲϮ      ƌƚ͕ĂƐƚWƵůƉ͕ĂŶĐĞƌ΀ǁŚŝƚĞ͕ĂƌƚŝƐƚƉƌŝŶƚ͕ƐŝŐŶĞĚ͕ϮϵǆϮϲ͕ǁƌĂƉƉĞĚ          d>         ϭ         ϭ͕ϮϬϬ͘ϬϬ          ϭ͕ϮϬϬ͘ϬϬ       ϳϵ͘ϱϬ       Ψϭ͕Ϯϳϵ͘ϱϬ
               'ƌĞĞŶŚŽƵƐĞ       ŝŶƉůĂƐƚŝĐ͕ŵŽůĚĞĚ΁ͲZhEK>h^/
               ΎΎϬΎΎ
               ǆǆ^EZϭϬϬϲϭ      ƌƚ͕ŝƚǇĐŚ΀ůĂƌŐĞƌƉŝĞĐĞ͗ϯϬǆϮϭ͕ƐŵĂůůĞƌƉŝĞĐĞϭϲǆϭϲ͕ŽŶǀĞƌƐŽ͕        d>         ϭ         ϵϳϱ͘ϬϬ             ϵϳϱ͘ϬϬ    ϲϰ͘ϱϵ       Ψϭ͕Ϭϯϵ͘ϱϵ
               'ƌĞĞŶŚŽƵƐĞ       ƐƚĂƚƵĂƌǇͬƐŝůǀĞƌͬƌĞƐƚ΁Ͳ
               ΎΎϬΎΎ
047519006886




               ǆǆ^EZϭϬϬϲϳ      ƌƚ͕ƌĂǁŝŶŐ΀ϭϳǆϭϭ͕ƵŶĨƌĂŵĞĚ͕ĚŝƐƚƌŽǇĞĚďǇŵŽůĚ΁ͲZK>                    d>         ϭ         ϭϱϬ͘ϬϬ             ϭϱϬ͘ϬϬ     ϵ͘ϵϰ      Ψϭϱϵ͘ϵϰ
               'ƌĞĞŶŚŽƵƐĞ       'ZE
               ΎΎϬΎΎ


                                                                                                                                                                                                        ƉĂŐĞϱ
                                            Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 22 of 64 PageID: 876
                                                                                                                       ůŝĞŶƚ͗        ^ĂǁŚŶĞǇ͕ZĂŵĞƐŚΘŚĂĚƌǁĂũ͕EŝŶĂ
                                                                                                                 >ŽĐĂƚŝŽŶ͗             ϰϱKĂŬĞŶĚZĚ͘^ŽƵƚŚ͕tĞƐƚKƌĂŶŐĞ͕E:
                                                                                                                   ůĂŝŵη͗            ϬϰϳϱϭϵϬϬϲϴϴϲͲŚƵďď
                                 ƐƐĞƚ/Y͕>>
                                 ϭZĞƐĞƌǀĞZĚ͕͘ĂŶďƵƌǇ͕dϬϲϴϭϬͲ;ϮϬϯͿϳϳϱͲϳϭϮϭ                                        ͬ>͗         ϬϮͬϮϱͬϮϬϭϵ

                                                                                                    ϬϰͬϭϲͬϮϬ                           ŽŵďŝŶĞĚŽŶƚĞŶƚZĞƉŽƌƚͲϬϰͬϭϲͬϮϬ
               ŝƐƉŽƐŝƚŝŽŶ͗ /ƚĞŵƐdŽƚĂů>ŽƐƐŽƌKŬĂǇ
                /ͬ>ŽƚEŽ͘                 ĞƐĐƌŝƉƚŝŽŶ                                              ZĞŵĞĚǇ   YƚǇ           h͘ŽƐƚ             ǆƚ͘ŽƐƚ          dĂǆ         dŽƚ͘>ŽƐƐ
               ǆǆ^EZϭϬϬϲϲ      ƌƚ͕ƌĂǁŝŶŐ͕ŚĂƌĐŽĂů͕DĂŶŝŶ,Ăƚ΀ϭϳǆϭϭ͕ƵŶĨƌĂŵĞĚ͕ŵĂƚƚĞĚ͕΁Ͳ     d>       Ϯ         ϭϱϬ͘ϬϬ           ϯϬϬ͘ϬϬ       ϭϵ͘ϴϴ       Ψϯϭϵ͘ϴϴ
               'ƌĞĞŶŚŽƵƐĞ       ZK>'ZE
               ΎΎϬΎΎ
               ǆǆ^EZϭϬϬϲϵ      ƌƚ͕ƌĂǁŝŶŐ͕ZĞĐůŝŶŝŶŐEƵĚĞ΀ϭϳǆϭϭ͕ƵŶĨƌĂŵĞĚ΁ͲZK>'ZE        d>      ϭ         ϭϱϬ͘ϬϬ             ϭϱϬ͘ϬϬ     ϵ͘ϵϰ       Ψϭϱϵ͘ϵϰ
               'ƌĞĞŶŚŽƵƐĞ
               ΎΎϬΎΎ
               ǆǆ^EZϭϬϬϲϴ      ƌƚ͕ƌĂǁŝŶŐ͕^ĞĂƚĞĚDĂŶ΀ϭϳǆϭϭ͕ƵŶĨƌĂŵĞĚ͕ŽŶŐƌĞĞŶƉĂƉĞƌ΁Ͳ         d>      ϭ         ϭϱϬ͘ϬϬ             ϭϱϬ͘ϬϬ     ϵ͘ϵϰ       Ψϭϱϵ͘ϵϰ
               'ƌĞĞŶŚŽƵƐĞ       ZK>'ZE
               ΎΎϬΎΎ
               ǆǆ^EZϭϬϬϲϰ      ƌƚ͕WĂŝŶƚŝŶŐ΀ƵŶĨƌĂŵĞĚ͕ϰǆϲ͕ŵĂƚƚĞĚ͕΁ͲZK>'ZE                d>      ϯ          ϲϬ͘ϬϬ            ϭϴϬ͘ϬϬ     ϭϭ͘ϵϯ       Ψϭϵϭ͘ϵϯ
               'ƌĞĞŶŚŽƵƐĞ
               ΎΎϬΎΎ
               ǆǆ^EZϭϬϬϲϱ      ƌƚ͕WĂŝŶƚŝŶŐ΀ϭϬǆϴ͕ŵĂƚƚĞĚŽŶůǇ͕ŵŽůĚĞĚ΁ͲZK>'ZE             d>      Ϯ          ϵϱ͘ϬϬ            ϭϵϬ͘ϬϬ     ϭϮ͘ϱϵ       ΨϮϬϮ͘ϱϵ
               'ƌĞĞŶŚŽƵƐĞ
               ΎΎϬΎΎ
               ǆǆ^EZϭϬϬϲϯ      ƌƚ͕dƌŝƉƚǇĐŚ΀Ă͖ϮϬǆϭϯ͕ŵĂƚƚĞĚ͕ƵŶĨƌĂŵĞĚ͕ƐŝŐŶĞĚ΁ͲZ/,Z         d>      ϭ         ϭ͕ϭϱϬ͘ϬϬ          ϭ͕ϭϱϬ͘ϬϬ        ϳϲ͘ϭϵ      Ψϭ͕ϮϮϲ͘ϭϵ
               'ƌĞĞŶŚŽƵƐĞ       ZKz
               ΎΎϬΎΎ
               ǆǆ^EDϭϬϬϳϬ      ^ƚĂƚŝŽŶĂƌǇ΀ĂƐƐŽƌƚĞĚĐƵƐƚŽŵŵĂĚĞĐĂƌĚƐ΁Ͳ                              d>      ϭ         ϭϬϬ͘ϬϬ             ϭϬϬ͘ϬϬ     ϲ͘ϲϯ       ΨϭϬϲ͘ϲϯ
               'ƌĞĞŶŚŽƵƐĞ
               ΎΎϬΎΎ
               ^E^Wϳϳϳϳϳ        ƌƚ͕WĂŝŶƚŝŶŐ͕dŽƵƌƚŚƌŽƵŐŚZŝďĞƌĂ΀ŚĂŶŐŝŶŐŽŶǁĂůů͕ŶŽĚĂŵĂŐĞ΁Ͳ     K<       ϭ              Ϭ͘ϬϬ         Ϭ͘ϬϬ    Ϭ͘ϬϬ        ΨϬ͘ϬϬ
               ,ĂůůǁĂǇ          dZ/DE͕:Kz
               ΎΎϭΎΎ
               ^E^Wϳϳϳϳϴ        ƌƚ͕tŽƌŬŽŶWĂƉĞƌ͕'ƌĞĂƚůŽǁŶ΀ŚĂŶŐŝŶŐŽŶǁĂůů͕ŶŽĚĂŵĂŐĞ΁Ͳ        K<       ϭ              Ϭ͘ϬϬ         Ϭ͘ϬϬ    Ϭ͘ϬϬ        ΨϬ͘ϬϬ
               ,ĂůůǁĂǇ          Zz͕<Z/^,E
               ΎΎϮΎΎ
047519006886




               ǆ^EZϭϬϬϱϱ       WĂŝŶƚŝŶŐ͕WĞŽƉůĞĂŶĚtŚŝƚĞŝƌĐŚdƌĞĞƐ΀Ž͖ϯϳǆϮϱ͕Ă͗ϯϱǆϮϯ͕        d>      ϭ         Ϯ͕ϬϬϬ͘ϬϬ          Ϯ͕ϬϬϬ͘ϬϬ       ϭϯϮ͘ϱϬ       ΨϮ͕ϭϯϮ͘ϱϬ
               ,ĂůůǁĂǇ          ƵŶĚĞƌŐůĂƐƐ͕ĚĂƚĞĚΖϵϴ͕ƐŝŐŶĞĚ͕ĂƌƚĐŽĐŬůĞĚ͕ĨƌĂŵĞƐƚĂŝŶĞĚΘƐĞĂŵ
               ΎΎϬΎΎ            ŽƉĞŶŝŶŐ΁Ͳd/E,/EKz


                                                                                                                                                                                             ƉĂŐĞϲ
                                             Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 23 of 64 PageID: 877
                                                                                                                              ůŝĞŶƚ͗        ^ĂǁŚŶĞǇ͕ZĂŵĞƐŚΘŚĂĚƌǁĂũ͕EŝŶĂ
                                                                                                                        >ŽĐĂƚŝŽŶ͗             ϰϱKĂŬĞŶĚZĚ͘^ŽƵƚŚ͕tĞƐƚKƌĂŶŐĞ͕E:
                                                                                                                          ůĂŝŵη͗            ϬϰϳϱϭϵϬϬϲϴϴϲͲŚƵďď
                                 ƐƐĞƚ/Y͕>>
                                 ϭZĞƐĞƌǀĞZĚ͕͘ĂŶďƵƌǇ͕dϬϲϴϭϬͲ;ϮϬϯͿϳϳϱͲϳϭϮϭ                                               ͬ>͗         ϬϮͬϮϱͬϮϬϭϵ

                                                                                                    ϬϰͬϭϲͬϮϬ                                  ŽŵďŝŶĞĚŽŶƚĞŶƚZĞƉŽƌƚͲϬϰͬϭϲͬϮϬ
               ŝƐƉŽƐŝƚŝŽŶ͗ /ƚĞŵƐdŽƚĂů>ŽƐƐŽƌKŬĂǇ
                /ͬ>ŽƚEŽ͘                  ĞƐĐƌŝƉƚŝŽŶ                                             ZĞŵĞĚǇ         YƚǇ              h͘ŽƐƚ           ǆƚ͘ŽƐƚ          dĂǆ         dŽƚ͘>ŽƐƐ
               ǆǆ^E&ZϭϬϬϳϭ      WůĂŶƚĞƌ͕WĂŝƌ΀ĂŶƚŝƋƵĞƐƚŽŶĞ͕ϭϰΗ;ŚͿǆϭϴΗŝŶƐŝĚĞĚŝĂŵĞƚĞƌ͕;ϮϯΗ     d>             ϭ          ϰ͕ϱϬϬ͘ϬϬ          ϰ͕ϱϬϬ͘ϬϬ       Ϯϵϴ͘ϭϯ       Ψϰ͕ϳϵϴ͘ϭϯ
               KƵƚĚŽŽƌƐ         ŽƵƚƐŝĚĞĚŝĂŵĞƚĞƌͿ͕ǁŝƚŚŚĂŶĚůĞƐ͕ŽŶĞƐŵĂƐŚĞĚ΁Ͳ
               ΎΎϬΎΎ
               ǆ^EZϭϬϬϱϳ       WŚŽƚŽŐƌĂƉŚ͕ZĂŶŝ^ŚĂŶŬĂƌ΀Ž͗ϮϬǆϭϲ͕ŝŶĂĐƌǇůŝĐĨƌĂŵĞ͕ĐŽĐŬůĞĚ͕      d>             ϭ         ϱϬϬ͘ϬϬ             ϱϬϬ͘ϬϬ     ϯϯ͘ϭϯ      Ψϱϯϯ͘ϭϯ
               ^ƚĂŝƌĐĂƐĞ        ĚĂƚĞĚΖϵϱ΁ͲZZ/tEd>>
               ΎΎϭϴΎΎ
               ^E^WϳϳϳϴϮ        WŚŽƚŽ͕ϮƉĞŽƉůĞƐŝƚƚŝŶŐŽŶďůŽĐŬƐĂŶĚŚĂŶŐŝŶŐĂďƐƚƌĂĐƚďŝƌĚƐ΀΁Ͳ     K<              ϭ              Ϭ͘ϬϬ         Ϭ͘ϬϬ    Ϭ͘ϬϬ        ΨϬ͘ϬϬ
               ^ƚĂŝƌǁĂǇ         dKE͕/>
               ΎΎϮϯΎΎ
               ^E^WϳϳϳϴϬ        WŚŽƚŽ͕ƌŽƵĐŚŝŶŐDĂŶ΀΁ͲdKE͕/>                               K<              ϭ              Ϭ͘ϬϬ         Ϭ͘ϬϬ    Ϭ͘ϬϬ        ΨϬ͘ϬϬ
               ^ƚĂŝƌǁĂǇ
               ΎΎϮϭΎΎ
               ^E^Wϳϳϳϳϵ        WŚŽƚŽ͕DĂŶǁŝƚŚƵŐĂƚƚŝĂƌ΀΁Ͳ,>^DE͕W,/>>/WW                   K<              ϭ              Ϭ͘ϬϬ         Ϭ͘ϬϬ    Ϭ͘ϬϬ        ΨϬ͘ϬϬ
               ^ƚĂŝƌǁĂǇ
               ΎΎϭϵΎΎ
               ^E^Wϳϳϳϴϭ        WŚŽƚŽ͕DĂŶǁŝƚŚ'ƵŝƚĂƌ΀΁Ͳ                                           K<              ϭ              Ϭ͘ϬϬ         Ϭ͘ϬϬ    Ϭ͘ϬϬ        ΨϬ͘ϬϬ
               ^ƚĂŝƌǁĂǇ
               ΎΎϮϮΎΎ
               ^E^Wϳϳϳϴϰ        WŚŽƚŽ͕^ŽƉŚŝĂ>ŽƌĞŶ΀΁Ͳ,>^DE͕W,/>>/WW                           K<              ϭ              Ϭ͘ϬϬ         Ϭ͘ϬϬ    Ϭ͘ϬϬ        ΨϬ͘ϬϬ
               ^ƚĂŝƌǁĂǇ
               ΎΎϮϱΎΎ
               ^E^Wϳϳϳϴϭ        WŚŽƚŽ͕tŽŵĂŶŝŶĂƉĞ΀΁ͲEtdKE͕,>Dhd                              K<              ϭ              Ϭ͘ϬϬ         Ϭ͘ϬϬ    Ϭ͘ϬϬ        ΨϬ͘ϬϬ
               ^ƚĂŝƌǁĂǇ
               ΎΎϮϬΎΎ
               ^E^Wϳϳϳϴϯ        WŚŽƚŽ͖ϯZƵŐďǇWůĂǇĞƌƐ΀΁Ͳ,>^DE͕W,/>>/WW                        K<              ϭ              Ϭ͘ϬϬ         Ϭ͘ϬϬ    Ϭ͘ϬϬ        ΨϬ͘ϬϬ
               ^ƚĂŝƌǁĂǇ
               ΎΎϮϰΎΎ
047519006886




                                                                               ŝƐƉŽƐŝƚŝŽŶdŽƚĂů                                                        ǆƚ͘ŽƐƚ          dĂǆ         dŽƚ͘>ŽƐƐ
                                                                                                               /ƚĞŵƐdŽƚĂů>ŽƐƐŽƌKŬĂǇ                 ϱϴ͕Ϯϴϱ͘ϵϵ         ϯ͕ϴϲϭ͘ϱϮ      ΨϲϮ͕ϭϰϳ͘ϱϭ


                                                                                                                                                                                                    ƉĂŐĞϳ
                                            Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 24 of 64 PageID: 878
                                                                                                                                    ůŝĞŶƚ͗    ^ĂǁŚŶĞǇ͕ZĂŵĞƐŚΘŚĂĚƌǁĂũ͕EŝŶĂ
                                                                                                                              >ŽĐĂƚŝŽŶ͗         ϰϱKĂŬĞŶĚZĚ͘^ŽƵƚŚ͕tĞƐƚKƌĂŶŐĞ͕E:
                                                                                                                                ůĂŝŵη͗        ϬϰϳϱϭϵϬϬϲϴϴϲͲŚƵďď
                                 ƐƐĞƚ/Y͕>>
                                 ϭZĞƐĞƌǀĞZĚ͕͘ĂŶďƵƌǇ͕dϬϲϴϭϬͲ;ϮϬϯͿϳϳϱͲϳϭϮϭ                                                     ͬ>͗     ϬϮͬϮϱͬϮϬϭϵ

                                                                                                           ϬϰͬϭϲͬϮϬ                             ŽŵďŝŶĞĚŽŶƚĞŶƚZĞƉŽƌƚͲϬϰͬϭϲͬϮϬ
               ŝƐƉŽƐŝƚŝŽŶ͗ /ƚĞŵƐƚŽďĞZĞƐƚŽƌĞĚ
                /ͬ>ŽƚEŽ͘                 ĞƐĐƌŝƉƚŝŽŶ                                                      ZĞŵĞĚǇ        YƚǇ             h͘ŽƐƚ       ǆƚ͘ŽƐƚ         dĂǆ        dŽƚ͘>ŽƐƐ
               ^t'^ϮϭϬϲϯ       ƌƚ,ĂŶĚůŝŶŐ͕ƉŝĐŬƵƉΘƌĞƚƵƌŶ΀ƉŝĐŬƵƉΘƌĞƚƵƌŶŽĨĂƌƚƉŝĞĐĞƐĨŽƌ                             ϭ         ϯ͕ϴϰϬ͘ϬϬ      ϯ͕ϴϰϬ͘ϬϬ      Ϯϱϰ͘ϰϬ      Ψϰ͕Ϭϵϰ͘ϰϬ
               ƚƚŝĐ           ƌĞƐƚŽƌĂƚŝŽŶ΁Ͳ
               ΎΎϬΎΎ
               ^EZϭϬϬϬϭ       ƌƚ͕ƌĂǁŝŶŐ͕ĂďǇĂƚDŽƚŚĞƌƐƌĞĂƐƚ΀Ž͗ϰϮǆϯϮ͕Ă͗ϯϮϭͬϮǆϮϯ        ůĞĂŶƌƚ͕ZĞĨƌĂŵĞ   ϭ         ϴϭϬ͘ϬϬ         ϴϭϬ͘ϬϬ   ϱϯ͘ϲϲ      Ψϴϲϯ͘ϲϲ
               ƚƚŝĐ           ϭͬϮ͕ĨƌĂŵĞǀŝŶǇůďƵůůŶŽƐĞϮǆϭͬϮΗ͕ƐŝŶŐůĞŵĂƚ͕ŐůĂƐƐďƌŽŬĞŶ͕ĨƌĂŵĞ
               ΎΎϭϰϮΎΎ         ĚĂŵĂŐĞĚ͕ĂƌƚĚŝƌƚǇ΁ͲW/^^K
               ^EZϭϬϬϮϵ       ƌƚ͕ƌĂǁŝŶŐ͕ŚĂƌĐŽĂůŽŶWĂƉĞƌ΀Ž͗ϭϵǆϮϱ͕Ă͗ϭϳǆϮϮ͕ƐŝŐŶĞĚ͕        ůĞĂŶͬĨůĂƚƚĞŶĂƌƚ͕   ϭ         ϲϱϬ͘ϬϬ         ϲϱϬ͘ϬϬ   ϰϯ͘Ϭϲ      Ψϲϵϯ͘Ϭϲ
               ƚƚŝĐ           ĂƌƚŝƐƚƐƉƌŽŽĨ͕ƵŶĚĞƌŐůĂƐƐ͕ŐůĂƐƐďƌŽŬĞŶĂŶĚĨĂůůĞŶŝŶƐŝĚĞ͕ďŝƌĐŚǁŽŽĚ       ZĞĨƌĂŵĞ
               ΎΎϭϱϰΎΎ         ůŽŽŬĨƌĂŵĞϭǆϭϯͬϰ͕΁Ͳ<KKE/E'
               ^EZϭϬϬϱϬ       ƌƚ͕ƚĐŚŝŶŐ΀Ž͗ϮϰǆϮϬ͕ĨƌĂŵĞĚƵŶĚĞƌŐůĂƐƐ΁Ͳ                          ůĞĂŶ͕ZĞĨƌĂŵĞ      Ϯ         ϵϯϬ͘ϬϬ      ϭ͕ϴϲϬ͘ϬϬ      ϭϮϯ͘Ϯϯ      Ψϭ͕ϵϴϯ͘Ϯϯ
               ƚƚŝĐ
               ΎΎϬΎΎ
               ^EZϭϬϬϯϵ       ƌƚ͕ƚĐŚŝŶŐ͕DĞŶWůĂǇŝŶŐĂƌĚƐ΀Ž͗ϯϬǆϯϰ͕Ă͗ϭϳǆϮϮ͕ƵŶĚĞƌŐůĂƐƐ͕   ůĞĂŶƌƚ͕ZĞĨƌĂŵĞ   ϭ         Ϯ͕ϰϬϬ͘ϬϬ      Ϯ͕ϰϬϬ͘ϬϬ      ϭϱϵ͘ϬϬ      ΨϮ͕ϱϱϵ͘ϬϬ
               ƚƚŝĐ           ƐŝŐŶĞĚ͕ƐƚĂŵƉĞĚŽŶůŽǁĞƌůĞĨƚ͕ĚŽƵďůĞŵĂƚƚĞĚ͕ƐĂƚŝŶǁŽŽĚĨƌĂŵĞϯ
               ΎΎϬΎΎ           ϭǁŝƚŚŐŽůĚĨŝůĞƚ΁Ͳ
               ^EZϭϬϬϱϭ       ƌƚ͕ƚĐŚŝŶŐ͕WŝůŐƌŝŵǆŝůĞƐ΀Ž͗ϭϳǆϮϯ͕Ă͗ϭϬǆϭϳ͕ǁŽŽĚĞŶďƵůůŶŽƐĞ    ůĞĂŶ͕ZĞĨƌĂŵĞ      ϭ         ϭ͕ϭϳϱ͘ϬϬ      ϭ͕ϭϳϱ͘ϬϬ      ϳϳ͘ϴϰ      Ψϭ͕ϮϱϮ͘ϴϰ
               ƚƚŝĐ           ĨƌĂŵĞϭǆϭͬϮ΁Ͳ
               ΎΎϬΎΎ
               ^EZϭϬϬϮϳ       ƌƚ͕DƵůƚŝŵĞĚŝĂ͕^ŬĞůĞƚŽŶŝƌĚ΀Ž͗ϮϮǆϰϭǆϯϭͬϮ͕Ă͗ϭϰǆϯϭ͕ŝŶ      ZĞƐƚŽƌĞ͕ZĞĨƌĂŵĞ    ϭ         ϭ͕ϰϬϬ͘ϬϬ      ϭ͕ϰϬϬ͘ϬϬ      ϵϮ͘ϳϱ      Ψϭ͕ϰϵϮ͘ϳϱ
               ƚƚŝĐ           ĂĐƌǇůŝĐďŽǆĨƌĂŵĞ͕ŵŽƵŶƚĞĚŽŶĐůŽƚŚĐŽǀĞƌĞĚƐƚƌĞƚĐŚĞƌďŽĂƌĚ͕ĐůŽƚŚ
               ΎΎϭϯϴΎΎ         ďĂĚůǇƐƚĂŝŶĞĚ͕ĂƌƚƉŽƐƐŝďůǇƐƚĂŝŶĞĚ͕ƐŝŐŶĂƚƵƌĞŽŶǀĞƌƐŽ͕ŵĂƌŬĞĚηϭ
               ^EZϭϬϬϬϮ       ƌƚ͕WĂŝŶƚŝŶŐ͕tĂƚĞƌŽůŽƌ͕DŽƵŶƚĂŝŶ^ĐĞŶĞ΀Ž͗ϭϯǆϭϳ͕Ă͖ϴϭͬϰǆ  &ůĂƚƚĞŶƌƚ͕ZĞĨƌĂŵĞ     ϭ         ϱϭϬ͘ϬϬ         ϱϭϬ͘ϬϬ   ϯϯ͘ϳϵ      Ψϱϰϯ͘ϳϵ
               ƚƚŝĐ           ϭϭϯͬϰ͕ĨƌĂŵĞ͗ǁŽŽĚĞŶϭǆϭͬϮΗ͕ƵŶĚĞƌŐůĂƐƐ͕ŵĞƚĂůďĂĐŬĞĚ͕ĨůŽĂƚ
               ΎΎϬΎΎ           ŵŽƵŶƚĞĚ͕ǁĂƚĞƌƐƚĂŝŶƐŽŶŵĂƚ͕ĂƌƚĐŽĐŬůĞĚ͕ƐŝŐŶĞĚůŽǁĞƌůĞĨƚ͕ĨƌĂŵĞ
               ^tZϮϭϬϭϴ      ƌƚ͕^ĐƵůƉƚĞĚWĂƉĞƌ΀Ž͗ϮϬǆϮϳ͕Ă͗ϭϮǆϮϬ͕ďŽǆƐƚǇůĞŵĂƚŽŶůǇ͕          ^ƵƌĨĂĐĞůĞĂŶ      ϯ         ϮϯϬ͘ϬϬ         ϲϵϬ͘ϬϬ   ϰϱ͘ϳϭ      Ψϳϯϱ͘ϳϭ
               ƚƚŝĐ           ǁƌĂƉƉĞĚŝŶƉůĂƐƚŝĐ΁ͲZKz
               ΎΎϭϱϲΎΎ
047519006886




               ^tZϮϭϬϭϴ       ƌƚ͕^ĐƵůƉƚĞĚWĂƉĞƌ΀Ž͗ϭϳǆϭϳ͕ŝŶďŽǆƐƚǇůĞŵĂƚ΁Ͳ,E              ZĞŵĂƚ͕^ƵƌĨĂĐĞ      Ϯ         ϭϵϬ͘ϬϬ         ϯϴϬ͘ϬϬ   Ϯϱ͘ϭϴ      ΨϰϬϱ͘ϭϴ
               ƚƚŝĐ                                                                                       ůĞĂŶ
               ΎΎϬΎΎ


                                                                                                                                                                                                   ƉĂŐĞϴ
                                            Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 25 of 64 PageID: 879
                                                                                                                                       ůŝĞŶƚ͗    ^ĂǁŚŶĞǇ͕ZĂŵĞƐŚΘŚĂĚƌǁĂũ͕EŝŶĂ
                                                                                                                                 >ŽĐĂƚŝŽŶ͗         ϰϱKĂŬĞŶĚZĚ͘^ŽƵƚŚ͕tĞƐƚKƌĂŶŐĞ͕E:
                                                                                                                                   ůĂŝŵη͗        ϬϰϳϱϭϵϬϬϲϴϴϲͲŚƵďď
                                 ƐƐĞƚ/Y͕>>
                                 ϭZĞƐĞƌǀĞZĚ͕͘ĂŶďƵƌǇ͕dϬϲϴϭϬͲ;ϮϬϯͿϳϳϱͲϳϭϮϭ                                                        ͬ>͗     ϬϮͬϮϱͬϮϬϭϵ

                                                                                                             ϬϰͬϭϲͬϮϬ                               ŽŵďŝŶĞĚŽŶƚĞŶƚZĞƉŽƌƚͲϬϰͬϭϲͬϮϬ
               ŝƐƉŽƐŝƚŝŽŶ͗ /ƚĞŵƐƚŽďĞZĞƐƚŽƌĞĚ
                /ͬ>ŽƚEŽ͘                ĞƐĐƌŝƉƚŝŽŶ                                                        ZĞŵĞĚǇ          YƚǇ           h͘ŽƐƚ         ǆƚ͘ŽƐƚ         dĂǆ         dŽƚ͘>ŽƐƐ
               ^tZϮϭϬϰϰ       ƌƚ͕^ĐƵůƉƚĞĚWĂƉĞƌ΀Ϳ͗ϭϳǆϭϰ͕Ă͗ϭϮǆϴ͕ŵƵůƚŝŵĞĚŝĂ͕΁ͲZKz           ^ƵƌĨĂĐĞůĞĂŶ        Ϯ         ϮϯϬ͘ϬϬ       ϰϲϬ͘ϬϬ      ϯϬ͘ϰϴ       ΨϰϵϬ͘ϰϴ
               ƚƚŝĐ
               ΎΎϭϱϲΎΎ
               ^tZϮϭϬϮϮ       ƌƚ͕tŽƌŬŽŶWĂƉĞƌ͕/ŶŬ͕tŽŵĂŶ΀Ž͗ϭϵǆϭϳ͕ƵŶĚĞƌŐůĂƐƐ͕ƉƌŝŽƌ             ^ƵƌĨĂĐĞůĞĂŶ        ϭ         ϭϭϱ͘ϬϬ         ϭϭϱ͘ϬϬ    ϳ͘ϲϮ       ΨϭϮϮ͘ϲϮ
               ƚƚŝĐ           ĚĂŵĂŐĞĂŶĚŐůƵĞŵĂƌŬƐ͕΁Ͳs^dz
               ΎΎϭϰϯΎΎ
               ^tZϮϭϬϲϮ       ƌƚǁŽƌŬ͕ƐƐŽƌƚĞĚhŶĚĞƌ'ůĂƐƐ΀΁Ͳ                                         ^ƵƌĨĂĐĞůĞĂŶ        ϱϬ          ϱϳ͘ϱϬ     Ϯ͕ϴϳϱ͘ϬϬ      ϭϵϬ͘ϰϳ       Ψϯ͕Ϭϲϱ͘ϰϳ
               ƚƚŝĐ
               ΎΎϬΎΎ
               ^tZϮϭϬϯϴ       ƌƚǁŽƌŬƐƐƐŽƌƚĞĚhŶĚĞƌ'ůĂƐƐ΀ĂƐƐŽƌƚĞĚƐŵĂůů΁Ͳ                           ^ƵƌĨĂĐĞůĞĂŶ        ϵ         ϭϭϱ͘ϬϬ      ϭ͕Ϭϯϱ͘ϬϬ       ϲϴ͘ϱϳ      Ψϭ͕ϭϬϯ͘ϱϳ
               ƚƚŝĐ
               ΎΎϬΎΎ
               ^tZϮϭϬϬϱ       ƌĂǁŝŶŐ΀Ž͖Ϯϭǆϭϳ͕ƵŶĚĞƌŐůĂƐƐ͕ǀŝŶǇůďƵůůŶŽƐĞĨƌĂŵĞ͕ĚĂƚĞĚϭϵϱϱ͕΁       ^ƵƌĨĂĐĞůĞĂŶ        ϭ         ϯϬϱ͘ϬϬ         ϯϬϱ͘ϬϬ    ϮϬ͘Ϯϭ       ΨϯϮϱ͘Ϯϭ
               ƚƚŝĐ           Ͳ'/KDdd/͕>ZdK
               ΎΎϭϱϯΎΎ
               ^tZϮϭϬϱϳ       ƌĂǁŝŶŐ΀Ž͗ϭϵǆϭϳ͕ƵŶĚĞƌŐůĂƐƐ͕ƐŝŐŶĞĚ͕ĚĂƚĞĚΖϳϱ͕ĂƉ΁ͲdZhDE          ^ƵƌĨĂĐĞůĞĂŶ        ϭ         ϭϭϱ͘ϬϬ         ϭϭϱ͘ϬϬ    ϳ͘ϲϮ       ΨϭϮϮ͘ϲϮ
               ƚƚŝĐ
               ΎΎϬΎΎ
               ^tZϮϭϬϭϭ       ƌĂǁŝŶŐ͕ΗEƵĚĞΗ΀Ž͗ϭϳǆϭϰ͕Ă͗ϭϬǆϳ͕ǁŚŝƚĞŐĂůůĞƌǇĨƌĂŵĞϭͬϮǆ         ZĞŵĂƚ͕ZĞĨƌĂŵĞ        ϭ         ϰϯϬ͘ϬϬ         ϰϯϬ͘ϬϬ    Ϯϴ͘ϰϵ       Ψϰϱϴ͘ϰϵ
               ƚƚŝĐ           ϭͬϮĚĂŵĂŐĞĚ͕ĂƌƚŽŬĂǇ͕ƵŶĚĞƌŐůĂƐ΁Ͳ^zDKhZ^,W/ZK
               ΎΎϬΎΎ
               ^tZϮϭϬϮϬ       ƌĂǁŝŶŐ͕ƵƐǇĞĞƐ΀ϭϭͬϭϳϱ͕ƵŶĚĞƌŐůĂƐƐ͕ηϭϬϵ΁Ͳ:,Kt                  ^ƵƌĨĂĐĞůĞĂŶ        ϭ         ϭϭϱ͘ϬϬ         ϭϭϱ͘ϬϬ    ϳ͘ϲϮ       ΨϭϮϮ͘ϲϮ
               ƚƚŝĐ
               ΎΎϬΎΎ
               ^tZϮϭϬϬϳ       ƚĐŚŝŶŐ͕ΗZĞĐůŝŶŐŝŶŐWĞƌƐŽŶΗ΀ďůĂĐŬΘǁŚŝƚĞ͕Ž͗ϭϲǆϮϲ͕ƵŶĨƌĂŵĞĚ͕       d>ŽƌůĞĂŶ͕&ůĂƚƚĞŶ   ϭ         ϰϬϬ͘ϬϬ         ϰϬϬ͘ϬϬ    Ϯϲ͘ϱϬ       ΨϰϮϲ͘ϱϬ
               ƚƚŝĐ           ϭϰͬϭϲ͕ĚĂƚĞĚΖϳϱ͕ƚĞĂƌŽŶƚŽƉ;ŶŽƚŽŶƚŚĞĂƌƚͿ͕ĚŝƌƚǇ͕ƉĂƉĞƌƐůŝŐŚƚůǇ
               ΎΎϴϲΎΎ          ĐƌƵŵƉůĞĚ΁ͲdZ/DE
047519006886




               ^tZϮϭϬϭϵ       ƚĐŚŝŶŐ͕ŽůŽƌĞĚ͕^ŚŝƉƐ΀Ž͗ϭϰǆϭϴ͕ƵŶĚĞƌŐůĂƐƐ΁Ͳ                        ^ƵƌĨĂĐĞůĞĂŶ        ϭ         ϭϭϱ͘ϬϬ         ϭϭϱ͘ϬϬ    ϳ͘ϲϮ       ΨϭϮϮ͘ϲϮ
               ƚƚŝĐ
               ΎΎϬΎΎ


                                                                                                                                                                                                        ƉĂŐĞϵ
                                            Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 26 of 64 PageID: 880
                                                                                                                                        ůŝĞŶƚ͗    ^ĂǁŚŶĞǇ͕ZĂŵĞƐŚΘŚĂĚƌǁĂũ͕EŝŶĂ
                                                                                                                                  >ŽĐĂƚŝŽŶ͗         ϰϱKĂŬĞŶĚZĚ͘^ŽƵƚŚ͕tĞƐƚKƌĂŶŐĞ͕E:
                                                                                                                                    ůĂŝŵη͗        ϬϰϳϱϭϵϬϬϲϴϴϲͲŚƵďď
                                 ƐƐĞƚ/Y͕>>
                                 ϭZĞƐĞƌǀĞZĚ͕͘ĂŶďƵƌǇ͕dϬϲϴϭϬͲ;ϮϬϯͿϳϳϱͲϳϭϮϭ                                                         ͬ>͗     ϬϮͬϮϱͬϮϬϭϵ

                                                                                                              ϬϰͬϭϲͬϮϬ                              ŽŵďŝŶĞĚŽŶƚĞŶƚZĞƉŽƌƚͲϬϰͬϭϲͬϮϬ
               ŝƐƉŽƐŝƚŝŽŶ͗ /ƚĞŵƐƚŽďĞZĞƐƚŽƌĞĚ
                /ͬ>ŽƚEŽ͘               ĞƐĐƌŝƉƚŝŽŶ                                                           ZĞŵĞĚǇ         YƚǇ           h͘ŽƐƚ         ǆƚ͘ŽƐƚ         dĂǆ         dŽƚ͘>ŽƐƐ
               ^tZϮϭϬϭϳ       ƚĐŚŝŶŐ͕DŽƵůƚŽŶĂƚƚŚĞĂŐĞ΀Ž͗ϮϱǆϮϬ͕ƵŶĚĞƌŐůĂƐƐ͕ƉƌŝŽƌĚĂŵĂŐĞ͕΁         ^ƵƌĨĂĐĞůĞĂŶ       ϭ         ϭϭϱ͘ϬϬ       ϭϭϱ͘ϬϬ      ϳ͘ϲϮ       ΨϭϮϮ͘ϲϮ
               ƚƚŝĐ           Ͳ
               ΎΎϬΎΎ
               ^tZϮϭϬϮϵ       ƚĐŚŝŶŐ͕WŽƌƚƌĂŝƚŽĨDĂŶ΀Ž͗ϮϰǆϮϬ͕ƵŶĚĞƌŐůĂƐƐ͕ŐůĂƐƐĐƌĂĐŬĞĚ΁Ͳ             ZĞŐůĂǌĞ          ϭ         ϭϱϬ͘ϬϬ         ϭϱϬ͘ϬϬ    ϵ͘ϵϰ       Ψϭϱϵ͘ϵϰ
               ƚƚŝĐ
               ΎΎϬΎΎ
               ^tZϮϭϬϯϬ       ƚĐŚŝŶŐ͕WŽƌƚƌĂŝƚŽĨtŽŵĂŶ΀Ž͖ϮϰǆϮϬ͕ƵŶĚĞƌŐůĂƐƐ͕ǁŽŽĚĞŶĨƌĂŵĞ            ^ƵƌĨĂĐĞůĞĂŶ       ϭ         ϭϭϱ͘ϬϬ         ϭϭϱ͘ϬϬ    ϳ͘ϲϮ       ΨϭϮϮ͘ϲϮ
               ƚƚŝĐ           ƉƌŝŽƌĚĂŵĂŐĞŝŶĐŽƌŶĞƌ΁Ͳ
               ΎΎϬΎΎ
               ^tZϮϭϬϱϵ       >ŝƚŚŽŐƌĂƉŚ͕ƌĂŶĐŚŝŶsĂƐĞ΀Ž͗ϯϮǆϮϲ͕ŶƵŵďĞƌĞĚϵϵͬϭϮϬ͕ƐŝŐŶĞĚ΁Ͳ          ůĞĂŶ͕ZĞĨƌĂŵĞ       ϭ         ϯϭϱ͘ϬϬ         ϯϭϱ͘ϬϬ    ϮϬ͘ϴϳ       Ψϯϯϱ͘ϴϳ
               ƚƚŝĐ
               ΎΎϬΎΎ
               ^tZϮϭϬϮϳ       >ŝƚŚŽŐƌĂƉŚ͕dŝŐĞƌ΀Ž͗ϯϬǆϯϳ͕Ă͗ϮϮǆϮϴ͕ĂƌƚŝƐƚΖƐƉƌŝŶƚ͕ƵŶĚĞƌŐůĂƐƐ͕   &ůĂƚƚĞŶƌƚ͕ZĞĨƌĂŵĞ   ϭ         ϴϯϱ͘ϬϬ         ϴϯϱ͘ϬϬ    ϱϱ͘ϯϮ       ΨϴϵϬ͘ϯϮ
               ƚƚŝĐ           ǀŝŶǇůďƵůůŶŽƐĞĨƌĂŵĞĚĂŵĂŐĞĚ͕ƐŝŐŶĞĚ͕ƐůŝŐŚƚůǇĐŽĐŬůĞĚ͕ŵĂƚǁĂƚĞƌ
               ΎΎϬΎΎ           ĚĂŵĂŐĞ΁ͲD/'Z͍
               ^E&ZϭϬϬϬϳ       DŝƌƌŽƌ͕EĞŽůĂƐƐŝĐĂůWŝĞƌƐƚǇůĞ΀ϰϭǆϮϰ͕ǁŽŽĚĨƌĂŵĞ͕ĂƌƌŽǁΘůǇƌĞ             ZĞƐƚŽƌĞ          ϭ         ϵϳϬ͘ϬϬ         ϵϳϬ͘ϬϬ    ϲϰ͘Ϯϲ      Ψϭ͕Ϭϯϰ͘Ϯϲ
               ƚƚŝĐ           ĂƚƚŽƉ͕ǁŽŽĚǁŽƌŬďƌŽŬĞŶĂŶĚŵŝƐƐŝŶŐ͕ŵĞůĂŵŝŶĞďĂĐŬďŽĂƌĚ΁Ͳ
               ΎΎϬΎΎ
               ^tZϮϭϬϭϲ       WĂŝŶƚŝŶŐ͕/ƌƌĞĚĞƐĐĞŶƚŝƌĚƐ΀Ž͗ϭϳǆϭϴ͕ƵŶĚĞƌŐůĂƐƐ͕ηϯϰϭ͕ĂƌƚŽŬĂǇ΁Ͳ     ůĞĂŶ͕ZĞĨƌĂŵĞ       ϭ         ϯϴϬ͘ϬϬ         ϯϴϬ͘ϬϬ    Ϯϱ͘ϭϴ       ΨϰϬϱ͘ϭϴ
               ƚƚŝĐ           D<KZE/͍
               ΎΎϬΎΎ
               ^EZϭϬϬϯϱ       WĂŝŶƚŝŶŐ͕KŝůŽŶĂŶǀĂƐ΀Ž͗ϮϯǆϮϴϭͬϮ͕Ă͗ϭϴǆϮϯ͊ͬϮ͕ƉĂŝŶƚďĂĚůǇ         ZĞƐƚŽƌĞƌƚ͕       ϭ         ϰ͕ϯϯϬ͘ϬϬ      ϰ͕ϯϯϬ͘ϬϬ      Ϯϴϲ͘ϴϲ       Ψϰ͕ϲϭϲ͘ϴϲ
               ƚƚŝĐ           ĚĂŵĂŐĞĚ͕ǁĂƚĞƌůŝŶĞƐ͕ĚĞƚĞƌŝŽƌĂƚŝŶŐ͕ƐŝŐŶĞĚ΁ͲhZE͕͘͘                   ZĞĨƌĂŵĞ
               ΎΎϯϴΎΎ
               ^tZϮϭϬϮϰ       WĂŝŶƚŝŶŐ͕KŝůŽŶĂŶǀĂƐ΀Ž͗ϯϲǆϮϰ͕ƵŶĨƌĂŵĞĚ͕ĚĂƚĞĚΖϳϵ͕ůĂƌŐĞĚĞŶƚ       ZĞƐƚƌĞƚĐŚ͕^ƵƌĨĂĐĞ    ϭ         Ϯ͕ϳϵϱ͘ϬϬ      Ϯ͕ϳϵϱ͘ϬϬ      ϭϴϱ͘ϭϳ       ΨϮ͕ϵϴϬ͘ϭϳ
               ƚƚŝĐ           ŝŶĐĂŶǀĂƐ΁Ͳ^dZE                                                               ůĞĂŶ
               ΎΎϬΎΎ
047519006886




               ^tZϮϭϬϰϮ       WĂŝŶƚŝŶŐ͕KŝůŽŶĂŶǀĂƐ͕^ƚĂŶĚŝŶŐEƵĚĞ΀Ž͗ϯϱǆϮϮ͕Ă͗ϯϯǆϮϬ͕ƉĂŝŶƚ       ZĞƐƚŽƌĞŽƌd>       ϭ         ϭ͕ϴϰϬ͘ϬϬ      ϭ͕ϴϰϬ͘ϬϬ      ϭϮϭ͘ϵϬ       Ψϭ͕ϵϲϭ͘ϵϬ
               ƚƚŝĐ           ĨĂĚĞĚŝŶĂƌĞĂƐ͕ǁĂƚĞƌůŝŶĞ
               ΎΎϬΎΎ           ΁Ͳdh^


                                                                                                                                                                                                       ƉĂŐĞϭϬ
                                            Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 27 of 64 PageID: 881
                                                                                                                                       ůŝĞŶƚ͗    ^ĂǁŚŶĞǇ͕ZĂŵĞƐŚΘŚĂĚƌǁĂũ͕EŝŶĂ
                                                                                                                                 >ŽĐĂƚŝŽŶ͗         ϰϱKĂŬĞŶĚZĚ͘^ŽƵƚŚ͕tĞƐƚKƌĂŶŐĞ͕E:
                                                                                                                                   ůĂŝŵη͗        ϬϰϳϱϭϵϬϬϲϴϴϲͲŚƵďď
                                 ƐƐĞƚ/Y͕>>
                                 ϭZĞƐĞƌǀĞZĚ͕͘ĂŶďƵƌǇ͕dϬϲϴϭϬͲ;ϮϬϯͿϳϳϱͲϳϭϮϭ                                                        ͬ>͗     ϬϮͬϮϱͬϮϬϭϵ

                                                                                                             ϬϰͬϭϲͬϮϬ                              ŽŵďŝŶĞĚŽŶƚĞŶƚZĞƉŽƌƚͲϬϰͬϭϲͬϮϬ
               ŝƐƉŽƐŝƚŝŽŶ͗ /ƚĞŵƐƚŽďĞZĞƐƚŽƌĞĚ
                /ͬ>ŽƚEŽ͘                 ĞƐĐƌŝƉƚŝŽŶ                                                        ZĞŵĞĚǇ         YƚǇ             h͘ŽƐƚ       ǆƚ͘ŽƐƚ         dĂǆ        dŽƚ͘>ŽƐƐ
               ^tZϮϭϬϲϭ       WĂŝŶƚŝŶŐ͕KŝůŽŶĂŶǀĂƐ͕ΗDŝĚŶŝŐŚƚĂŶĐĞΗ΀Ž͗ϯϱǆϮϵ͕Ă͗ϮϵǆϮϯ͕             ZĞƐƚŽƌĞ          ϭ         Ϯ͕ϳϲϬ͘ϬϬ      Ϯ͕ϳϲϬ͘ϬϬ      ϭϴϮ͘ϴϱ      ΨϮ͕ϵϰϮ͘ϴϱ
               ƚƚŝĐ           ĚĂƚĞĚϭϵϲϮ͕ǁĂƚĞƌůŝŶĞƐŽŶĂƌƚ΁Ͳ,^t/E'ZdEZ
               ΎΎϬΎΎ
               ^tZϮϭϬϭϯ       WĂŝŶƚŝŶŐ͕KŝůŽŶĂŶǀĂƐ͕ϮtŽŵĂŶ΀Ž͗ϯϬϭͬϮǆϮϯ͕Ă͗ϮϵǆϮϭ͕ĐĂŶǀĂƐ     ZĞƐƚŽƌĞ͕ZĞĨƌĂŵĞ      ϭ         ϭ͕ϱϰϬ͘ϬϬ      ϭ͕ϱϰϬ͘ϬϬ      ϭϬϮ͘Ϭϯ      Ψϭ͕ϲϰϮ͘Ϭϯ
               ƚƚŝĐ           ƌŝƉƉůĞĚ͕ĚŝƌƚǇ͕Ĩ͗ϭǆϯͬϰ͕ƐŵĂůůƐĐƌĂƚĐŚŝŶƉĂŝŶƚ΁ͲDEd/;DE:zͿ
               ΎΎϬΎΎ
               ^tZϮϭϬϭϱ       WĂŝŶƚŝŶŐ͕KŝůŽŶĂŶǀĂƐ͕ŝƌĐƵůĂƌƵŝůĚŝŶŐ΀Ž͗ϮϭǆϮϱ͕Ă͗ϭϱǆϭϵ͕        ^ƵƌĨĂĐĞůĞĂŶ͕       ϭ         ϰϳϬ͘ϬϬ         ϰϳϬ͘ϬϬ   ϯϭ͘ϭϰ      ΨϱϬϭ͘ϭϰ
               ƚƚŝĐ           ůŝŶĞŶůŝŶĞƌĨŽǆĞĚ͕ĨƌĂŵĞϯǆϮ͕ηϮϲϲ΁Ͳs>>͍                         ZĞƉůĂĐĞůŝŶĞƌ͕ƌĞƵƐĞ
               ΎΎϬΎΎ                                                                                          ĨƌĂŵĞ
               ^tZϮϭϬϭϰ       WĂŝŶƚŝŶŐ͕KŝůŽŶĂŶǀĂƐ͕ůŽǁŶ΀Ž͗ϮϯǆϮϰ͕Ă͗ϭϰǆϭϱ͕ĨƌĂŵĞϱǆϰ΁Ͳ      ^ƵƌĨĂĐĞůĞĂŶ       ϭ         ϯϰϱ͘ϬϬ         ϯϰϱ͘ϬϬ   ϮϮ͘ϴϲ      Ψϯϲϳ͘ϴϲ
               ƚƚŝĐ           sZ;sEͿ
               ΎΎϬΎΎ
               ^tZϮϭϬϭϮ       WĂŝŶƚŝŶŐ͕KŝůŽŶĂŶǀĂƐ͕&ůŽǁĞƌƐŝŶsĂƐĞ΀Ž͗ϮϯϭͬϮǆϭϵ͕Ă͗ϭϵǆϭϱ͕          ZĞƐƚŽƌĞ          ϭ        ϭϭ͕ϬϬϬ͘ϬϬ      ϭϭ͕ϬϬϬ͘ϬϬ       ϳϮϴ͘ϳϱ     Ψϭϭ͕ϳϮϴ͘ϳϱ
               ƚƚŝĐ           ƉĂŝŶƚůŝĨƚŝŶŐĂŶĚŵŝƐƐŝŶŐŝŶƉůĂĐĞƐ΁Ͳd͘͘hd>Z
               ΎΎϭϯϳΎΎ
               ^EZϭϬϬϯϰ       WĂŝŶƚŝŶŐ͕KŝůŽŶĂŶǀĂƐ͕DŽŽŶĂŶĚ^ĞĂ΀Ž͗ϮϭǆϮϵ͕Ă͗ϭϱǆϮϯ͕ĚĂƚĞĚ     ZĞƐƚŽƌĞ͕ZĞĨƌĂŵĞ      ϭ         Ϯ͕ϴϯϱ͘ϬϬ      Ϯ͕ϴϯϱ͘ϬϬ      ϭϴϳ͘ϴϮ      Ψϯ͕ϬϮϮ͘ϴϮ
               ƚƚŝĐ           ϭϳϳϴŽƌϭϴϳϴ͕ŐĞƐƐŽĨƌĂŵĞĚĂŵĂŐĞĚ͕ĂƌƚǁĂƚĞƌƐƚĂŝŶĞĚ͕ƉĂŝŶƚůŝĨƚĞĚ
               ΎΎϬΎΎ           ĂƚďŽƚƚŽŵ͕ĐĂŶǀĂƐŵŝƐƐŚĂƉĞŶ͕ĨƌĂŵĞϯǆϮϭͬϮ΁Ͳ^>/E'
               ^EZϭϬϬϮϴ       WĂŝŶƚŝŶŐ͕KŝůŽŶĂŶǀĂƐ͕ZŝǀĞƌǁŝƚŚƌŝĚŐĞ΀Ž͗ϭϵǆϮϯ͕Ă͗ϭϱǆϭϵ͕      ůĞĂŶƌƚ͕ZĞĨƌĂŵĞ     ϭ         ϯϰϱ͘ϬϬ         ϯϰϱ͘ϬϬ   ϮϮ͘ϴϲ      Ψϯϲϳ͘ϴϲ
               ƚƚŝĐ           ǁŽŽĚĞŶĨƌĂŵĞϮϭͬϰǆϮϭͬϮ͕ůŽƚƐŽĨĚĞďƌŝƐŽŶĐĂŶǀĂƐ͕ƐŝŐŶĞĚůŽǁĞƌ
               ΎΎϬΎΎ           ůĞĨƚ͕ĚĂƚĞĚŽŶǀĞƌƐŽũƵůǇϭϵϱϳ΁Ͳ'hzt/''/E^E͘͘
               ^EZϭϬϬϰϯ       WĂŝŶƚŝŶŐ͕KŝůŽŶĂŶǀĂƐ͕tŽƌŬĞƌƐŝŶ&ŝĞůĚ΀Ž͗ϭϴǆϮϱ͘Ă͗ϭϰǆϮϭ͕             ZĞƐƚŽƌĞ          ϭ         ϭ͕ϮϬϬ͘ϬϬ      ϭ͕ϮϬϬ͘ϬϬ      ϳϵ͘ϱϬ      Ψϭ͕Ϯϳϵ͘ϱϬ
               ƚƚŝĐ           ƐŝŐŶĞĚ;ŚŝŶĚŝͿ͕ĐŽĐŬůĞĚ͕ĨƌĂŵĞĐĂƌǀĞĚǁŽŽĚϮǆϭͬϮ΁Ͳ
               ΎΎϬΎΎ
               ^tZϮϭϬϰϴ       WĂŝŶƚŝŶŐ͕WĂƐƚĞů͕ZĞĂƌŝŶŐ,ŽƌƐĞΗŚĞǀĂůĞďŽƵƚΗ΀Ž͗ϯϭǆϯϵ͕Ă͗ϮϮǆ        d>ŽƌZĞƐƚŽƌĞ       ϭ         ϭ͕ϳϱϬ͘ϬϬ      ϭ͕ϳϱϬ͘ϬϬ      ϭϭϱ͘ϵϰ      Ψϭ͕ϴϲϱ͘ϵϰ
               ƚƚŝĐ           ϯϬ͕ĂƌƚĨĂůůĞŶĨƌŽŵŵŽƵŶƚ͕ŶŽŵĂƚ͕ĨƌĂŵĞĚƵŶĚĞƌŐůĂƐƐ͕͘Ăƌƚ
               ΎΎϬΎΎ           ĐŽĐŬůĞĚ͕΁ͲDKd/
047519006886




               ^tZϮϭϬϲϬ       WĂŝŶƚŝŶŐ͕tĂƚĞƌĐŽůŽƌ΀Ž͗ϮϵǆϮϯ͕ǀŝŶǇůďƵůůŶŽƐĞĨƌĂŵĞĚĞůĂŵŝŶĂƚŝŶŐ΁       ůĞĂŶ͕ZĞĨƌĂŵĞ       ϭ         ϱϰϬ͘ϬϬ         ϱϰϬ͘ϬϬ   ϯϱ͘ϳϴ      Ψϱϳϱ͘ϳϴ
               ƚƚŝĐ           ͲzZKEZKt
               ΎΎϬΎΎ


                                                                                                                                                                                                     ƉĂŐĞϭϭ
                                            Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 28 of 64 PageID: 882
                                                                                                                                   ůŝĞŶƚ͗    ^ĂǁŚŶĞǇ͕ZĂŵĞƐŚΘŚĂĚƌǁĂũ͕EŝŶĂ
                                                                                                                             >ŽĐĂƚŝŽŶ͗         ϰϱKĂŬĞŶĚZĚ͘^ŽƵƚŚ͕tĞƐƚKƌĂŶŐĞ͕E:
                                                                                                                               ůĂŝŵη͗        ϬϰϳϱϭϵϬϬϲϴϴϲͲŚƵďď
                                 ƐƐĞƚ/Y͕>>
                                 ϭZĞƐĞƌǀĞZĚ͕͘ĂŶďƵƌǇ͕dϬϲϴϭϬͲ;ϮϬϯͿϳϳϱͲϳϭϮϭ                                                    ͬ>͗     ϬϮͬϮϱͬϮϬϭϵ

                                                                                                          ϬϰͬϭϲͬϮϬ                             ŽŵďŝŶĞĚŽŶƚĞŶƚZĞƉŽƌƚͲϬϰͬϭϲͬϮϬ
               ŝƐƉŽƐŝƚŝŽŶ͗ /ƚĞŵƐƚŽďĞZĞƐƚŽƌĞĚ
                /ͬ>ŽƚEŽ͘                ĞƐĐƌŝƉƚŝŽŶ                                                     ZĞŵĞĚǇ         YƚǇ             h͘ŽƐƚ       ǆƚ͘ŽƐƚ         dĂǆ         dŽƚ͘>ŽƐƐ
               ^EZϭϬϬϯϭ       WĂŝŶƚŝŶŐ͕tĂƚĞƌĐŽůŽƌ͕ϯtŽƌŬƐ΀Ž͗ϭϰϭͬϮǆϮϲ͕Ă͗ϲϭͬϮǆϮϬ͕ŐůĂƐƐ    ůĞĂŶͬĨůĂƚƚĞŶĂƌƚ͕   ϭ         ϭ͕Ϯϳϱ͘ϬϬ      ϭ͕Ϯϳϱ͘ϬϬ       ϴϰ͘ϰϳ      Ψϭ͕ϯϱϵ͘ϰϳ
               ƚƚŝĐ           ďƌŽŬĞŶ͕ƐŝŐŶĞĚĂůƌ͕ŽŶǀĞƌƐŽϮĂĚĚŝƚŝŽŶĂůǁŽƌŬƐĞĂĐŚϲǆϵ             ZĞƐƚŽƌĞĨƌĂŵĞŽƌ
               ΎΎϬΎΎ           ƉƌŽƚĞĐƚĞĚďǇƉůĂƐƚŝĐ͕ĂƌƚĐŽĐŬůĞĚ͕ĨƌĂŵĞŚĂƐƐŵĂůůƐƉůŝƚ΁Ͳ>            ZĞĨƌĂŵĞ
               ^EZϭϬϬϯϯ       WĂŝŶƚŝŶŐ͕tĂƚĞƌĐŽůŽƌ͕ĂŶŬŽĨWŽŶĚ΀Ž͗ϮϮǆϮϱ͕Ă͗ϭϱǆϭϵ͕ƵŶĚĞƌ      ůĞĂŶƌƚ͕ZĞĨƌĂŵĞ   ϭ         Ϯ͕Ϭϱϱ͘ϬϬ      Ϯ͕Ϭϱϱ͘ϬϬ      ϭϯϲ͘ϭϰ       ΨϮ͕ϭϵϭ͘ϭϰ
               ƚƚŝĐ           ŐůĂƐƐ͕ƐŝŐŶĞĚ͕ĨƌĂŵĞϭǆϯͬϰ΁ͲtDKZZ/>>
               ΎΎϬΎΎ
               ^tZϮϭϬϯϵ       WĂŝŶƚŝŶŐ͕tĂƚĞƌĐŽůŽƌ͕EĂŬĞĚWĞŽƉůĞZĞĐůŝŶŝŶŐΘ^ƋƵĂƚƚŝŶŐ΀Ž͗ϭϴǆ        ZĞƐƚŽƌĞŽƌd>      ϭ         ϭ͕ϰϯϬ͘ϬϬ      ϭ͕ϰϯϬ͘ϬϬ       ϵϰ͘ϳϰ      Ψϭ͕ϱϮϰ͘ϳϰ
               ƚƚŝĐ           Ϯϰ͕Ă͗ϭϰǆϭϴ͕ĚĂƚĞĚΖϴϬ͕ĂƌƚΘŵĂƚĐŽĐŬůĞĚ͕ƐŝŐŶĞĚ͕ƉƌŝŽƌĨŽůĚŝŶ
               ΎΎϬΎΎ           ĐĞŶƚĞƌŽĨĂƌƚ΁Ͳ,KZ/^,/E/͍W/
               ^tZϮϭϬϰϭ       WĂŝŶƚŝŶŐ͕tĂƚĞƌĐŽůŽƌ͕KǆĞŶŝŶsŝůůĂŐĞ΀Ž͖ϭϳǆϮϭ͕Ă͗ϭϬǆϭϰ͕ŵĂƚ      &ůĂƚƚĞŶ͕ZĞŵĂƚ      ϭ         ϰϬϬ͘ϬϬ         ϰϬϬ͘ϬϬ    Ϯϲ͘ϱϬ      ΨϰϮϲ͘ϱϬ
               ƚƚŝĐ           ƐƚĂŝŶĞĚ͕ĂƌƚĐŽĐŬůĞĚ͕ǁŽŽĚĞŶĨƌĂŵĞ΁Ͳ
               ΎΎϬΎΎ
               ^tZϮϭϬϰϯ       WĂŝŶƚŝŶŐ͕tĂƚĞƌĐŽůŽƌ͕^ŚŝƉŽŶ^ŚŽƌĞ΀Ž͗ϭϲǆϮϭ͕ƵŶĚĞƌŐůĂƐƐ΁Ͳ^/D^     ^ƵƌĨĂĐĞůĞĂŶ      ϭ         ϭϭϱ͘ϬϬ         ϭϭϱ͘ϬϬ    ϳ͘ϲϮ      ΨϭϮϮ͘ϲϮ
               ƚƚŝĐ
               ΎΎϬΎΎ
               ^tZϮϭϬϱϯ       WĂŝŶƚŝŶŐ͕tĂƚĞƌĐŽůŽƌ͕tŽŵĂŶǁŝƚŚ,Ăƚ΀Ž͗Ϯϭǆϭϳ͕ƵŶĚĞƌŐůĂƐƐ΁Ͳ         ^ƵƌĨĂĐĞůĞĂŶ      ϭ         ϭϭϱ͘ϬϬ         ϭϭϱ͘ϬϬ    ϳ͘ϲϮ      ΨϭϮϮ͘ϲϮ
               ƚƚŝĐ           ,KtZ,E>Z,Z/^dz
               ΎΎϭϮϵΎΎ
               ^tϮϭϬϯϳ       WĂŶĞů͕ƐŝĂŶ^ĐƌĞĞŶ΀ĞĂĐŚŝŶĚŝǀŝĚƵĂůƉŝĞĐĞϯϲǆϭϮ͕ĞŶĂŵĞůĞĚ΁Ͳ          ^ƵƌĨĂĐĞůĞĂŶ      ϳ         ϭϭϱ͘ϬϬ         ϴϬϱ͘ϬϬ    ϱϯ͘ϯϯ      Ψϴϱϴ͘ϯϯ
               ƚƚŝĐ
               ΎΎϬΎΎ
               ^tZϮϭϬϮϲ       WĂƉĞƌ^ĐƵůƉƚĞĚ&ĂŶ΀Ž͗ϭϲǆϮϬ͕ŵĂƚŵŝƐƐŝŶŐ΁Ͳdz>KZ                ZĞƉůĂĐĞDĂƚ͕       ϭ         ϯϵϱ͘ϬϬ         ϯϵϱ͘ϬϬ    Ϯϲ͘ϭϳ      ΨϰϮϭ͘ϭϳ
               ƚƚŝĐ                                                                                    ^ƵƌĨĂĐĞůĞĂŶ
               ΎΎϬΎΎ
               ^tZϮϭϬϭϬ       WŚŽƚŽŐƌĂƉŚ͕DŝůŝƚĂƌǇ&ŝŐƵƌĞ΀Ž͗ϭϯǆϭϬ͕Ă͗ϭϬǆϴ͕ďůĂĐŬǁŽŽĚĞŶ       ZĞŵŽƵŶƚ͕ZĞĨƌĂŵĞ     ϭ         ϱϭϬ͘ϬϬ         ϱϭϬ͘ϬϬ    ϯϯ͘ϳϵ      Ψϱϰϯ͘ϳϵ
               ƚƚŝĐ           ĨƌĂŵĞϭͬϮǆϭͬϮ͕ƵŶĚĞƌŐůĂƐƐ͕ŵŽƵŶƚďŽĂƌĚĐŽĐŬůĞĚΘǁĂƚĞƌ
               ΎΎϬΎΎ           ƐƚĂŝŶĞĚ͕ƉŚŽƚŽŽŬ΁Ͳ
047519006886




               ^tZϮϭϬϬϵ       WŚŽƚŽŐƌĂƉŚ͕DŝůŝƚĂƌǇ^ŚŝƉ΀Ž͗ϭϮϭͬϮǆϵϭͬϮ͕Ă͗ϭϬǆϴ͕ďůĂĐŬ         ZĞŵŽƵŶƚ͕ZĞĨƌĂŵĞ     ϭ         ϱϭϬ͘ϬϬ         ϱϭϬ͘ϬϬ    ϯϯ͘ϳϵ      Ψϱϰϯ͘ϳϵ
               ƚƚŝĐ           ǁŽŽĚĞŶĨƌĂŵĞϭͬϮǆϭͬϮ͕ƵŶĚĞƌŐůĂƐƐ͕ŵŽƵŶƚďŽĂƌĚĐŽĐŬůĞĚΘ
               ΎΎϬΎΎ           ǁĂƚĞƌƐƚĂŝŶĞĚ΁Ͳ


                                                                                                                                                                                                  ƉĂŐĞϭϮ
                                            Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 29 of 64 PageID: 883
                                                                                                                              ůŝĞŶƚ͗    ^ĂǁŚŶĞǇ͕ZĂŵĞƐŚΘŚĂĚƌǁĂũ͕EŝŶĂ
                                                                                                                        >ŽĐĂƚŝŽŶ͗         ϰϱKĂŬĞŶĚZĚ͘^ŽƵƚŚ͕tĞƐƚKƌĂŶŐĞ͕E:
                                                                                                                          ůĂŝŵη͗        ϬϰϳϱϭϵϬϬϲϴϴϲͲŚƵďď
                                 ƐƐĞƚ/Y͕>>
                                 ϭZĞƐĞƌǀĞZĚ͕͘ĂŶďƵƌǇ͕dϬϲϴϭϬͲ;ϮϬϯͿϳϳϱͲϳϭϮϭ                                               ͬ>͗     ϬϮͬϮϱͬϮϬϭϵ

                                                                                                       ϬϰͬϭϲͬϮϬ                           ŽŵďŝŶĞĚŽŶƚĞŶƚZĞƉŽƌƚͲϬϰͬϭϲͬϮϬ
               ŝƐƉŽƐŝƚŝŽŶ͗ /ƚĞŵƐƚŽďĞZĞƐƚŽƌĞĚ
                /ͬ>ŽƚEŽ͘                 ĞƐĐƌŝƉƚŝŽŶ                                                  ZĞŵĞĚǇ      YƚǇ           h͘ŽƐƚ         ǆƚ͘ŽƐƚ         dĂǆ         dŽƚ͘>ŽƐƐ
               ^tZϮϭϬϰϲ       WŽƐƚĞƌ͕>ŝůŽZĂǇŵŽŶĚ΀Ž͗ϭϴǆϮϭ͕ƵŶĚĞƌŐůĂƐƐ͕ηϮϬϯ΁Ͳ                ^ƵƌĨĂĐĞůĞĂŶ    ϭ         ϭϭϱ͘ϬϬ       ϭϭϱ͘ϬϬ      ϳ͘ϲϮ       ΨϭϮϮ͘ϲϮ
               ƚƚŝĐ
               ΎΎϬΎΎ
               ^tZϮϭϬϱϮ       WƌŝŶƚ͕ŽƵŶƚƌǇ,ŽƵƐĞǁŝƚŚ^ŝĚĞǁĂůŬ΀Ž͗Ϯϭǆϭϳ͕Ă͗ϭϮǆϭϱ͕ƐŝŐŶĞĚ͕   ůĞĂŶ͕ZĞĨƌĂŵĞ   ϭ         ϭϵϬ͘ϬϬ         ϭϵϬ͘ϬϬ    ϭϮ͘ϱϵ       ΨϮϬϮ͘ϱϵ
               ƚƚŝĐ           ĐŽƉǇƌŝŐŚƚǁĂůůĂĐĞŶƵƚƚŝŶŐ΁ͲEd,Zd
               ΎΎϬΎΎ
               ^tZϮϭϬϰϱ       WƌŝŶƚ͕ŽǁƐŝŶtĂƚĞƌ΀ϮϳǆϯϮ͕ƵŶĚĞƌŐůĂƐƐ΁Ͳ                         ^ƵƌĨĂĐĞůĞĂŶ    ϭ         ϭϭϱ͘ϬϬ         ϭϭϱ͘ϬϬ    ϳ͘ϲϮ       ΨϭϮϮ͘ϲϮ
               ƚƚŝĐ
               ΎΎϬΎΎ
               ^tZϮϭϬϱϭ       WƌŝŶƚ͕'ĞŶƚůĞŵĂŶ΀Ž͗ϭϱǆϭϮ͕ƵŶĚĞƌŐůĂƐƐ͕ƉƌŝŽƌĨŽǆŝŶŐ΁Ͳ            ^ƵƌĨĂĐĞůĞĂŶ    ϭ         ϭϭϱ͘ϬϬ         ϭϭϱ͘ϬϬ    ϳ͘ϲϮ       ΨϭϮϮ͘ϲϮ
               ƚƚŝĐ
               ΎΎϬΎΎ
               ^tZϮϭϬϱϴ       WƌŝŶƚ͕EŽďĞůƐĂƚdĂďůĞ΀ϮϬǆϮϳ͕ƵŶĚĞƌŐůĂƐƐ΁Ͳ                       ^ƵƌĨĂĐĞůĞĂŶ    ϭ         ϭϭϱ͘ϬϬ         ϭϭϱ͘ϬϬ    ϳ͘ϲϮ       ΨϭϮϮ͘ϲϮ
               ƚƚŝĐ
               ΎΎϬΎΎ
               ^tZϮϭϬϱϬ       WƌŝŶƚ͕h^DŝůŝƚĂƌǇĐĂĚĞŵǇ΀ϭϰǆϭϴ͕ƵŶĚĞƌŐůĂƐƐ΁Ͳ                   ^ƵƌĨĂĐĞůĞĂŶ͕   ϭ         ϮϬϳ͘ϱϬ         ϮϬϳ͘ϱϬ    ϭϯ͘ϳϱ       ΨϮϮϭ͘Ϯϱ
               ƚƚŝĐ                                                                                    ZĞďĂĐŬ
               ΎΎϬΎΎ
               ^tZϮϭϬϯϱ       ^ĐƵůƉƚƵƌĞ΀ϮϮǆϮϵǆϰ͕ƉůĂƐƚĞƌůŝŬĞ͕ƉĂĐŬĂŐĞĚŝŶǁŽŽĚĞŶĐĂƐĞǁŝƚŚ       ZĞƐƚŽƌĞ       ϭ         ϭ͕ϯϴϬ͘ϬϬ      ϭ͕ϯϴϬ͘ϬϬ       ϵϭ͘ϰϯ      Ψϭ͕ϰϳϭ͘ϰϯ
               ƚƚŝĐ           ƉŽƐƐŝďůĞĚĂŵĂŐĞƚŽĐĂƐĞ΁ͲEK>E͕<E
               ΎΎϬΎΎ
               ^tZϮϭϬϯϲ       ^ĐƵůƉƚƵƌĞ΀ƉůĂƐƚĞƌƐƵƌƌŽƵŶĚĞĚďǇǁŽŽĚĞŶƐŝĚĞƐ͕ƉůĂƐƚĞƌĐƌĂĐŬĞĚ΁Ͳ        ZĞƐƚŽƌĞ       ϭ         ϭ͕ϯϴϬ͘ϬϬ      ϭ͕ϯϴϬ͘ϬϬ       ϵϭ͘ϰϯ      Ψϭ͕ϰϳϭ͘ϰϯ
               ƚƚŝĐ           EK>E͕<E
               ΎΎϭϱϴΎΎ
               ^EZϭϬϬϭϴ       ^ĐƵůƉƚƵƌĞ͕ƌĂǁĞƌ΀ǁŽŽĚĞŶ͕ϲǆϭϱǆϮϯ΁ͲEK>E͕<E                    ZĞƐƚŽƌĞ       ϭ         ϰϲϬ͘ϬϬ         ϰϲϬ͘ϬϬ    ϯϬ͘ϰϴ       ΨϰϵϬ͘ϰϴ
               ƚƚŝĐ
               ΎΎϬΎΎ
047519006886




               ^EZϭϬϬϯϮ       ^ĐƵůƉƚƵƌĞ͕dŽƌƐŽǁŝƚŚŚĂŶĚĂŶĚďĞůƚ΀ŚŽůůŽǁŵŽůĚĞĚƉĂƉĞƌ͕Ϯϳǆϭϯ΁        ůĞĂŶ        ϭ         ϯϰϱ͘ϬϬ         ϯϰϱ͘ϬϬ    ϮϮ͘ϴϲ       Ψϯϲϳ͘ϴϲ
               ƚƚŝĐ           Ͳ:hz,/'K
               ΎΎϬΎΎ


                                                                                                                                                                                             ƉĂŐĞϭϯ
                                            Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 30 of 64 PageID: 884
                                                                                                                                   ůŝĞŶƚ͗    ^ĂǁŚŶĞǇ͕ZĂŵĞƐŚΘŚĂĚƌǁĂũ͕EŝŶĂ
                                                                                                                             >ŽĐĂƚŝŽŶ͗         ϰϱKĂŬĞŶĚZĚ͘^ŽƵƚŚ͕tĞƐƚKƌĂŶŐĞ͕E:
                                                                                                                               ůĂŝŵη͗        ϬϰϳϱϭϵϬϬϲϴϴϲͲŚƵďď
                                 ƐƐĞƚ/Y͕>>
                                 ϭZĞƐĞƌǀĞZĚ͕͘ĂŶďƵƌǇ͕dϬϲϴϭϬͲ;ϮϬϯͿϳϳϱͲϳϭϮϭ                                                    ͬ>͗     ϬϮͬϮϱͬϮϬϭϵ

                                                                                                         ϬϰͬϭϲͬϮϬ                               ŽŵďŝŶĞĚŽŶƚĞŶƚZĞƉŽƌƚͲϬϰͬϭϲͬϮϬ
               ŝƐƉŽƐŝƚŝŽŶ͗ /ƚĞŵƐƚŽďĞZĞƐƚŽƌĞĚ
                /ͬ>ŽƚEŽ͘               ĞƐĐƌŝƉƚŝŽŶ                                                      ZĞŵĞĚǇ         YƚǇ           h͘ŽƐƚ         ǆƚ͘ŽƐƚ         dĂǆ         dŽƚ͘>ŽƐƐ
               ^EϭϬϬϯϴ       tĂůů,ĂŶŐŝŶŐ͕ĂƌǀĞĚtŽŽĚ΀ϮϳǆϮϭǆϯ͕ůŽƚƐŽĨƐŚĞĞƚƌŽĐŬĚƵƐƚ΁Ͳ          ůĞĂŶ           ϭ         ϯϰϱ͘ϬϬ       ϯϰϱ͘ϬϬ      ϮϮ͘ϴϲ       Ψϯϲϳ͘ϴϲ
               ƚƚŝĐ
               ΎΎϬΎΎ
               ^tZϮϭϬϰϳ       tĂƚĞƌĐŽůŽƌ͕ΗĂďǇ>ĞŽƉĂƌĚŽŶĂZŽĐŬΗ΀Ž͗ϭϲǆϮϯ͕ƵŶĚĞƌŐůĂƐƐ΁Ͳ        ^ƵƌĨĂĐĞůĞĂŶ       ϭ         ϭϭϱ͘ϬϬ         ϭϭϱ͘ϬϬ    ϳ͘ϲϮ       ΨϭϮϮ͘ϲϮ
               ƚƚŝĐ           Z>W,d,KDW^KE
               ΎΎϬΎΎ
               ^tZϮϭϬϯϮ       tŽƌŬŽŶWĂƉĞƌ΀Ž͖ϵǆϴ͕ƵŶĚĞƌŐůĂƐƐ΁Ͳ                                 ^ƵƌĨĂĐĞůĞĂŶ       ϰ          ϲϬ͘ϬϬ        ϮϰϬ͘ϬϬ    ϭϱ͘ϵϬ       ΨϮϱϱ͘ϵϬ
               ƚƚŝĐ
               ΎΎϬΎΎ
               ^tZϮϭϬϬϰ       tŽƌŬŽŶWĂƉĞƌ͕ƚĐŚŝŶŐΘƌǇWĂŝŶƚ͕WŽƌƚƌĂŝƚZŝĐŚĂƌĚZŽǇĐ΀Ž͗ϯϯ      d>ZĞƉůĂĐĞ'ůĂǌŝŶŐ͕   ϭ         ϯϬϬ͘ϬϬ         ϯϬϬ͘ϬϬ    ϭϵ͘ϴϴ       Ψϯϭϵ͘ϴϴ
               ƚƚŝĐ           Ϯϰ͕Ă͗ϭϭϭͬϮǆϴϭͬϮ͕ŐůĂǌŝŶŐďƌŽŬĞŶ͕ƐŝŐŶĞĚŽŶŵĂƚ͕ďĂƚϭϵϳϱ͕Ăƌƚ      ^ƵƌĨĂĐĞůĞĂŶ
               ΎΎϲϯΎΎ          ŽŬĂǇ͕ŵĞƚĂůĨƌĂŵĞ΁Ͳ^KzZ͕ZW,>
               ^tZϮϭϬϬϯ       tŽƌŬŽŶWĂƉĞƌ͕'ƌĂƉŚŝƚĞ΀Ž͗ϭϳǆϭϲ͕Ă͗ϵǆϭϮ͕ǁŽŽĚĨƌĂŵĞ΁ͲtZ       ůĞĂŶ͕ZĞďĂĐŬ       ϭ         ϭϭϱ͘ϬϬ         ϭϭϱ͘ϬϬ    ϳ͘ϲϮ       ΨϭϮϮ͘ϲϮ
               ƚƚŝĐ           D/>>Z
               ΎΎϬΎΎ
               ^tZϮϭϬϬϴ       tŽƌŬŽŶWĂƉĞƌ͕WĂƐƚĞůŚĂůŬ΀Ž͗Ϯϴǆϭϱ͕Ă͗ϭϮǆϭϬ͕ƵŶĚĞƌŐůĂƐƐ΁Ͳ     ^ƵƌĨĂĐĞůĞĂŶ       ϭ         ϭϭϱ͘ϬϬ         ϭϭϱ͘ϬϬ    ϳ͘ϲϮ       ΨϭϮϮ͘ϲϮ
               ƚƚŝĐ           ,'>>
               ΎΎϭϯϭΎΎ
               ^tZϮϭϬϬϭ       tŽƌŬŽŶWĂƉĞƌ͕^ĐƵůƉƚĞĚWĂƉĞƌ΀ƵŶĨƌĂŵĞĚ΁ͲZKz                        ^ƵƌĨĂĐĞůĞĂŶ       ϳ          ϳϭ͘ϱϬ        ϱϬϬ͘ϱϬ    ϯϯ͘ϭϲ       Ψϱϯϯ͘ϲϲ
               ƚƚŝĐ
               ΎΎϭϱϲΎΎ
               ^tZϬϬϬϬϮ       tŽƌŬŽŶWĂƉĞƌ͕^ĐƵůƉƚĞĚWĂƉĞƌ΀ϯϵǆϮϱ͕ƵŶĨƌĂŵĞĚ͕ƐŝŐŶĞĚ͕ĐŽƌŶĞƌ              d>            ϭ         ϱϬϬ͘ϬϬ         ϱϬϬ͘ϬϬ    ϯϯ͘ϭϯ       Ψϱϯϯ͘ϭϯ
               ƚƚŝĐ           ďĞŶƚ΁ͲZKz
               ΎΎϭϱϲΎΎ
               ^tZϮϭϬϮϱ       tŽƌŬŽŶWĂƉĞƌ͕^ĐƵůƉƚĞĚWĂƉĞƌ͕ŝĂŐŽŶĂů>ŝŶĞƐ΀Ž͗ϰϬǆϮϳ͕ŝŶ           ^ƵƌĨĂĐĞůĞĂŶ       ϭ         ϯϰϱ͘ϬϬ         ϯϰϱ͘ϬϬ    ϮϮ͘ϴϲ       Ψϯϲϳ͘ϴϲ
               ƚƚŝĐ           ƉĂƌƚŝĂůǁƌĂƉƉĞƌ͕ƵŶĨƌĂŵĞĚ͕ďŽǆƐƚǇůĞŵĂƚ͕΁Ͳ,D
               ΎΎϬΎΎ
047519006886




               ^tZϮϭϬϰϵ       tŽƌŬŽŶWĂƉĞƌ͕dŚƌĞĞ/ŶĚŝĂŶƐ΀Ž͗Ϯϭǆϭϳ͕ƵŶĚĞƌŐůĂƐƐ͕ĂƌƚŽĨĨ        ůĞĂŶ͕ZĞĨƌĂŵĞ       ϭ         ϰϮϬ͘ϬϬ         ϰϮϬ͘ϬϬ    Ϯϳ͘ϴϯ       Ψϰϰϳ͘ϴϯ
               ƚƚŝĐ           ŵŽƵŶƚ͕ŝŶƐƚŽƌĞďŽƵŐŚƚĨƌĂŵĞ͕ďĂĐŬŝŶŐƉĂƉĞƌǁĂƚĞƌƐƚĂŝŶĞĚ΁Ͳ
               ΎΎϬΎΎ


                                                                                                                                                                                                  ƉĂŐĞϭϰ
                                            Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 31 of 64 PageID: 885
                                                                                                                                        ůŝĞŶƚ͗    ^ĂǁŚŶĞǇ͕ZĂŵĞƐŚΘŚĂĚƌǁĂũ͕EŝŶĂ
                                                                                                                                  >ŽĐĂƚŝŽŶ͗         ϰϱKĂŬĞŶĚZĚ͘^ŽƵƚŚ͕tĞƐƚKƌĂŶŐĞ͕E:
                                                                                                                                    ůĂŝŵη͗        ϬϰϳϱϭϵϬϬϲϴϴϲͲŚƵďď
                                 ƐƐĞƚ/Y͕>>
                                 ϭZĞƐĞƌǀĞZĚ͕͘ĂŶďƵƌǇ͕dϬϲϴϭϬͲ;ϮϬϯͿϳϳϱͲϳϭϮϭ                                                         ͬ>͗     ϬϮͬϮϱͬϮϬϭϵ

                                                                                                           ϬϰͬϭϲͬϮϬ                                 ŽŵďŝŶĞĚŽŶƚĞŶƚZĞƉŽƌƚͲϬϰͬϭϲͬϮϬ
               ŝƐƉŽƐŝƚŝŽŶ͗ /ƚĞŵƐƚŽďĞZĞƐƚŽƌĞĚ
                /ͬ>ŽƚEŽ͘                ĞƐĐƌŝƉƚŝŽŶ                                                       ZĞŵĞĚǇ           YƚǇ            h͘ŽƐƚ         ǆƚ͘ŽƐƚ        dĂǆ         dŽƚ͘>ŽƐƐ
               ^E^Wϳϳϳϵϲ       >ŝƚŚŽŐƌĂƉŚ͕ŵ&ŽƵŶĚ΀Ž͗ϭϲϯͬϰǆϭϯ͕ĞĚŝƚŝŽŶϮϬͬϰϬ͕ƐŝŐŶĞĚ͕              ůĞĂŶ͕ZĞďĂĐŬ         ϭ          ϮϬϬ͘ϬϬ       ϮϬϬ͘ϬϬ     ϭϯ͘Ϯϱ       ΨϮϭϯ͘Ϯϱ
               ĞĚƌŽŽŵ         ĨƌĂŵĞĚ΁ͲZKz͕Z/,Z
               ΎΎϭϱΎΎ
               ^EZϭϬϬϱϮ       ^ĐƵůƉƚƵƌĞ͕tŽŽĚĞŶ͕'ŽĚĚĞƐƐ΀ďƌŽŬĞŶ͕ϭϴΗ;ŚͿ͕ďĂƐĞϲΗŽǀĂů͕΁Ͳ             ZĞƐƚŽƌĞŽƌd>          ϭ         ϭ͕Ϭϰϱ͘ϬϬ      ϭ͕Ϭϰϱ͘ϬϬ      ϲϵ͘Ϯϯ      Ψϭ͕ϭϭϰ͘Ϯϯ
               ĞĚƌŽŽŵ
               ΎΎϬΎΎ
               ^E&ZϭϬϬϱϯ       dĂďůĞ͕^ŝĚĞ΀ƐŝŶŐůĞĚƌĂǁĞƌ͕ϯůĞŐŐĞĚƐƚĞŵ͕ĨŝŶŝƐŚŚĂǌǇĂŶĚ                   ZĞƐƚŽƌĞ             ϭ         Ϯ͕ϮϬϬ͘ϬϬ      Ϯ͕ϮϬϬ͘ϬϬ     ϭϰϱ͘ϳϱ       ΨϮ͕ϯϰϱ͘ϳϱ
               ĞĚƌŽŽŵ         ĚŝƐĐŽůŽƌĞĚ͕ĂĨĞǁƐŵĂůůǀĞŶĞĞƌƉŝĞĐĞƐŵŝƐƐŝŶŐ͕ŵĞƚĂůƉĂǁĨĞĞƚ͕ƉƌŝŽƌ
               ΎΎϬΎΎ           ƌĞĚƐƚĂŝŶĂŶĚŐůĂƐƐƌŝŶŐ΁Ͳ,d,tz^
               ^EZϭϬϬϱϰ       WĂŝŶƚŝŶŐ͕'ƵĂĐŚĞ͕sŝůůĂŐĞ΀ŽΗϭϱϭͬϮǆϮϬϯͬϰ͕Ă͗ϭϬǆϭϱ͕ƐŝŐŶĞĚ͕     &ůĂƚƚĞŶƌƚ͕ZĞĨƌĂŵĞ      ϭ         ϭ͕Ϯϲϱ͘ϬϬ      ϭ͕Ϯϲϱ͘ϬϬ      ϴϯ͘ϴϭ      Ψϭ͕ϯϰϴ͘ϴϭ
               ,ĂůůǁĂǇ         ĚĂƚĞĚϭϵϯϭ͕ĨƌĂŵĞƚǁŝƐƚĞĚ͕ĂƌƚǁĂƌƉĞĚ͕ĨƌĂŵĞϭǆϭ΁Ͳ&                      Žƌd>
               ΎΎϬΎΎ           z>sdd/

                                                                              ŝƐƉŽƐŝƚŝŽŶdŽƚĂů                                                               ǆƚ͘ŽƐƚ       dĂǆ          dŽƚ͘>ŽƐƐ
                                                                                                                             /ƚĞŵƐƚŽďĞZĞƐƚŽƌĞĚ             ϳϰ͕Ϭϰϴ͘ϬϬ      ϰ͕ϵϬϱ͘ϴϬ       Ψϳϴ͕ϵϱϯ͘ϴϬ

                ZĞƉŽƌƚ^ƵŵŵĂƌǇ
                                                                                                                                                              ǆƚ͘ŽƐƚ        dĂǆ         dŽƚ͘>ŽƐƐ
                                                                                                                                            >ŽƐƐdŽƚĂů        ϭϯϮ͕ϯϯϯ͘ϵϵ      ϴ͕ϳϲϳ͘ϯϮ     Ψϭϰϭ͕ϭϬϭ͘ϯϭ
047519006886




                                                                                                                                                                                                      ƉĂŐĞϭϱ
Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 32 of 64 PageID: 886




                        Exhibit D
Re: Sawhney                                                                                                          05/03/21
       Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 33 of 64 PageID: 887
Items obtained from Aiston, now located at Asset IQ.                                                                      page 1

                              Aiston No.:      14622‐1 ???
                          Reference No.:       SUPPAR10188
                                 AIQ No.:      Ref #:502
                             Description:      Kataj, Lithograph, Lytho Dance, unframed

                              Aiston No.:      14622‐1‐0002
                          Reference No.:       SUPPAR10087
                                 AIQ No.:      Ref #:162
                             Description:      Bouguereau, William, Hand Colored Print, 20 x 13, Woman in shawl, framed

                              Aiston No.:      14622‐1‐0005
                          Reference No.:       SUPPAR10028
                                 AIQ No.:      Ref #:3
                             Description:      Orozco, Jose Clemente, Woodblock Print, 12 x 17, framed

                              Aiston No.:      14622‐1‐0006
                          Reference No.:       SUPPAR10189
                                 AIQ No.:      Ref #:7‐4
                             Description:      Unknown, Lithograph, lantern, unframed

                              Aiston No.:      14622‐1‐0011
                          Reference No.:       SUPPAR10068
                                 AIQ No.:      Ref #:11
                             Description:      Picasso, Pablo , Ceramic Tile, 6 x 6, framed

                              Aiston No.:      14622‐1‐0013
                          Reference No.:       SUPPAR10040
                                 AIQ No.:      Ref #:14
                             Description:      Moore, Henry, Watercolor on Paper, 5 x 6, Still llife, framed

                              Aiston No.:      14622‐1‐0014
                          Reference No.:       SUPPAR10062
                                 AIQ No.:      Ref #:16
                             Description:      Callow, William, Pencil sketch, 9 x 9, building, framed

                              Aiston No.:      14622‐1‐0015
                          Reference No.:       SUPPAR10097
                                 AIQ No.:      Ref #:18
                             Description:      Wentzell, Buse, Photograph, 15 x 12, Ravi Shankar, framed




Note: ID and Reference numbers may be changed or duplicated.
Re: Sawhney                                                                                                          05/03/21
       Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 34 of 64 PageID: 888
Items obtained from Aiston, now located at Asset IQ.                                                                  page 2

                              Aiston No.:      14622‐1‐0016
                          Reference No.:       SUPPAR10101
                                 AIQ No.:      Ref #:19
                             Description:      Halsman, Philippe, Photograph, 14 x 11, Rolls Royce and Man, framed

                              Aiston No.:      14622‐1‐0017
                          Reference No.:       SUPPAR10096
                                 AIQ No.:      Ref #:20
                             Description:      Newton, Helmut, Photograph, 19 x 13, Woman with red glasses, framed

                              Aiston No.:      14622‐1‐0018
                          Reference No.:       SUPPAR10099
                                 AIQ No.:      Ref #:21
                             Description:      Beaton, Cecil, Photograph, 8 x 10, posing man, framed

                              Aiston No.:      14622‐1‐0019
                          Reference No.:       SUPPAR10100
                                 AIQ No.:      Ref #:22
                             Description:      Photograph , 13 x 10, Man with guitar, framed

                              Aiston No.:      14622‐1‐0020
                          Reference No.:       SUPPAR10102
                                 AIQ No.:      Ref #:23
                             Description:      Beaton, Cecil, Photograph, 13 x 11, 2 men and hanging bird, framed

                              Aiston No.:      14622‐1‐0021
                          Reference No.:       SUPPAR10098
                                 AIQ No.:      Ref #:24
                             Description:      Halsman, Philippe, Photograph, 19 x 15, 3 rugby players, framed

                              Aiston No.:      14622‐1‐0022
                          Reference No.:       SUPPAR10103
                                 AIQ No.:      Ref #:25
                             Description:      Halsman, Philippe, Photograph, 16 x 12, Sophia Loren, framed

                              Aiston No.:      14622‐1‐0023
                          Reference No.:       SUPPAR10063
                                 AIQ No.:      Ref #:26
                             Description:      Bonnard, Pencil Drawing, 7 x 8, children framed




Note: ID and Reference numbers may be changed or duplicated.
Re: Sawhney                                                                                                            05/03/21
       Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 35 of 64 PageID: 889
Items obtained from Aiston, now located at Asset IQ.                                                                     page 3

                              Aiston No.:      14622‐1‐0025
                          Reference No.:       SUPPAR10057
                                 AIQ No.:      Ref #:30
                             Description:      Luks, George. Graphite on Paper, 2 x 4, London street scene, framed

                              Aiston No.:      14622‐1‐0026
                          Reference No.:       SUPPAR10089
                                 AIQ No.:      Ref #:33
                             Description:      Reddy, Krishna, Lithograph, 29 x 24, Sunrise, framed

                              Aiston No.:      14622‐1‐0027
                          Reference No.:       SUPPAR10086
                                 AIQ No.:      Ref #:34
                             Description:      Reddy, Krishna, Lithograph, 26 x 36, Sunrise, framed

                              Aiston No.:      14622‐1‐0028
                          Reference No.:       SUPPAR10037
                                 AIQ No.:      Ref #:49
                             Description:      Treiman, Joyce, Pencil on Paper, 12 x 9, Double self portrait, framed

                              Aiston No.:      14622‐1‐0030
                          Reference No.:       SUPPAR10187
                                 AIQ No.:      Ref #:27
                             Description:      Jenkins, Paul, Acrylic 3 D Sculpted Paper, 35 x 35, unframed

                              Aiston No.:      14622‐1‐0033
                          Reference No.:       SUPPAR10130
                                 AIQ No.:      Ref #:46
                             Description:      Marin, John, Watercolor and charcoal on paper, 8 x 10, abstract town, framed

                              Aiston No.:      14622‐1‐0034
                          Reference No.:       SUPPAR10031
                                 AIQ No.:      Ref #:37
                             Description:      Chapelle, Watercolor on Paper, 9 x 12, dancing angels, framed

                              Aiston No.:      14622‐1‐0041
                          Reference No.:       SUPPAR10048
                                 AIQ No.:      Ref #:149
                             Description:      Pascin, Ink & Charcoal on Paper, 7 x 8, reclining woman, framed




Note: ID and Reference numbers may be changed or duplicated.
Re: Sawhney                                                                                                           05/03/21
       Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 36 of 64 PageID: 890
Items obtained from Aiston, now located at Asset IQ.                                                                   page 4

                              Aiston No.:      14622‐1‐0042
                          Reference No.:       SUPPAR10045
                                 AIQ No.:      Ref #:78
                             Description:      Attributed to Chagall, Watercolor on Paper, 9 x 13, House, framed

                              Aiston No.:      14622‐1‐0044
                          Reference No.:       SUPPAR10054
                                 AIQ No.:      Ref #:7‐59
                             Description:      Bourdelle, Emile, watercolor on paper, 6 x 4, nude couples, framed

                              Aiston No.:      14622‐1‐0048‐49
                          Reference No.:       SUPPAR10149
                                 AIQ No.:      Ref #:100‐A‐B
                             Description:      Boxer, Stanley, Acrylic on Rag, 40 x 27, abstract, unframed

                              Aiston No.:      14622‐1‐0051
                          Reference No.:       SUPPAR10150
                                 AIQ No.:      Ref #:103‐A‐B‐C
                             Description:      Boxer, Stanley, Acrylic on Rag, 37 x 28, abstract, unframed

                              Aiston No.:      14622‐1‐0052
                          Reference No.:       SUPPAR10134
                                 AIQ No.:      Ref #:134
                             Description:      Dine, Jim, Collage, Tools, framed

                              Aiston No.:      14622‐1‐0053
                          Reference No.:       SUPPAR10152
                                 AIQ No.:      Ref #:133
                             Description:      Richter, A. L. , Pencil & Chalk on Paper, 26 x 6, seascape, unframed

                              Aiston No.:      14622‐1‐0055
                          Reference No.:       SUPPAR10003
                                 AIQ No.:      Ref #:127
                             Description:      Porter, Fairfield, Ink on Paper, 15 x 12, Tree, framed

                              Aiston No.:      14622‐1‐0056
                          Reference No.:       SUPPAR10002
                                 AIQ No.:      Ref #:128
                             Description:      Thiebaud, Ink on Paper, 11 x 8, hands, framed




Note: ID and Reference numbers may be changed or duplicated.
Re: Sawhney                                                                                                               05/03/21
       Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 37 of 64 PageID: 891
Items obtained from Aiston, now located at Asset IQ.                                                                           page 5

                              Aiston No.:      14622‐1‐0057
                          Reference No.:       SUPPAR10001
                                 AIQ No.:      Ref #:154
                             Description:      DeKooning, Print, 17 x 22, Clamdigger Series , framed

                              Aiston No.:      14622‐1‐0058
                          Reference No.:       SUPPAR10044
                                 AIQ No.:      Ref #:116
                             Description:      Friedrich, Caspar David, Watercolor or ink wash on paper, 9 x 7, river scene,

                              Aiston No.:      14622‐1‐0059
                          Reference No.:       SUPPAR10186
                                 AIQ No.:      Ref #:138
                             Description:      Royce, Richard, Cast Paper, 22 x 41, American Bird, acrylic box frame

                              Aiston No.:      14622‐1‐0060
                          Reference No.:       SUPPAR10113
                                 AIQ No.:      Ref #:79
                             Description:      Matisse, Henri, Lithograph, 10 x 10, abstact, unframed

                              Aiston No.:      14622‐1‐0060
                          Reference No.:       SUPPAR10114
                                 AIQ No.:      Ref #:80
                             Description:      Matisse, Henri, Lithograph, 14 x 30, floral motif, unframed

                              Aiston No.:      14622‐1‐0061
                          Reference No.:       SUPPAR10111
                                 AIQ No.:      Ref #:81
                             Description:      King, Erika, Guache with paper collage, 23 x 31, abstract, unframed

                              Aiston No.:      14622‐1‐0062
                          Reference No.:       SUPPAR10077
                                 AIQ No.:      Ref #:126
                             Description:      Laurencin, Marie, Print, 14 x 11, 3 women, unframed

                              Aiston No.:      14622‐1‐0064
                          Reference No.:       SUPPAR10143
                                 AIQ No.:      Ref #:7‐115
                             Description:      Treiman, Mixed Media on Paper, 35 x 23, for Richard Royce, unframed




Note: ID and Reference numbers may be changed or duplicated.
Re: Sawhney                                                                                                         05/03/21
       Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 38 of 64 PageID: 892
Items obtained from Aiston, now located at Asset IQ.                                                                     page 6

                              Aiston No.:      14622‐1‐0065
                          Reference No.:       SUPPAR10107
                                 AIQ No.:      Ref #:114‐A
                             Description:      Royce, Richard, Mixed Media on paper, 20 x 26, family members, unframed

                              Aiston No.:      14622‐1‐0066
                          Reference No.:       SUPPAR10144
                                 AIQ No.:      Ref #:112
                             Description:      Knox, Martin, Lithograph, 36 x 29, abstract, unframed

                              Aiston No.:      14622‐1‐0067
                          Reference No.:       SUPPAR10079
                                 AIQ No.:      Ref #:111A
                             Description:      Knox, Martin, Acrylic on Paper, 14 x 10, birds, unframed

                              Aiston No.:      14622‐1‐0067
                          Reference No.:       SUPPAR10080
                                 AIQ No.:      Ref #:111B
                             Description:      Knox, Martin, Acrylic on Paper, 14 x 10, ladybug, unframed

                              Aiston No.:      14622‐1‐0067
                          Reference No.:       SUPPAR10081
                                 AIQ No.:      Ref #:111C
                             Description:      Knox, Martin, Acrylic on Paper, 14 x 10, bird, unframed

                              Aiston No.:      14622‐1‐0068
                          Reference No.:       SUPPAR10108
                                 AIQ No.:      Ref #:107A
                             Description:      Royce, Richard, Monoprint, 22 x 25, abstract, unframed

                              Aiston No.:      14622‐1‐0068
                          Reference No.:       SUPPAR10109
                                 AIQ No.:      Ref #:107B
                             Description:      Royce, Richard, Monoprint, 22 x 25, abstract, unframed

                              Aiston No.:      14622‐1‐0068
                          Reference No.:       SUPPAR10110
                                 AIQ No.:      Ref #:107C
                             Description:      Royce, Richard, Monoprint, 22 x 25, abstract, unframed




Note: ID and Reference numbers may be changed or duplicated.
Re: Sawhney                                                                                                 05/03/21
       Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 39 of 64 PageID: 893
Items obtained from Aiston, now located at Asset IQ.                                                         page 7

                              Aiston No.:      14622‐1‐0069
                          Reference No.:       SUPPAR10082
                                 AIQ No.:      Ref #:108
                             Description:      Haberle, John, Guache on Paper, 20 x 12, flowers, unframed

                              Aiston No.:      14622‐1‐0070
                          Reference No.:       SUPPAR10027
                                 AIQ No.:      Ref #:7‐93
                             Description:      Unknown, Lithograph, soldiers jacket, framed

                              Aiston No.:      14622‐1‐0070X
                          Reference No.:       SUPPAR10112
                                 AIQ No.:      Ref #:93
                             Description:      Katz, Alex, Screenprint, 22 x 30, girl on bike, unframed

                              Aiston No.:      14622‐1‐0071
                          Reference No.:       SUPPAR10078
                                 AIQ No.:      Ref #:99
                             Description:      Kollwitz, Kathe, Lithograph, Woman, unframed

                              Aiston No.:      14622‐1‐0072
                          Reference No.:       SUPPAR10085
                                 AIQ No.:      Ref #:97 (15)
                             Description:      Soyer, Raphael, Etching, 12 x 9, 4 women, unframed

                              Aiston No.:      14622‐1‐0073
                          Reference No.:       SUPPAR10010
                                 AIQ No.:      Ref #:42
                             Description:      Palmer, Photograph, 8 x 13, trotter horse, framed

                              Aiston No.:      14622‐1‐0074
                          Reference No.:       SUPPAR10030
                                 AIQ No.:      Ref #:67
                             Description:      Ortlip, Paul, Ink on Paper, 11 x 9, nude women, framed

                              Aiston No.:      14622‐1‐0078
                          Reference No.:       SUPPAR10145
                                 AIQ No.:      Ref #:156‐A
                             Description:      Royce, Richard, Ink Drawing, 5 x 9, unframed




Note: ID and Reference numbers may be changed or duplicated.
Re: Sawhney                                                                                                                  05/03/21
       Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 40 of 64 PageID: 894
Items obtained from Aiston, now located at Asset IQ.                                                                          page 8

                              Aiston No.:      14622‐1‐0078
                          Reference No.:       SUPPAR10146
                                 AIQ No.:      Ref #:156‐B
                             Description:      Royce, Richard, Ink Drawing, 5 x 9, unframed

                              Aiston No.:      14622‐1‐0078
                          Reference No.:       SUPPAR10147
                                 AIQ No.:      Ref #:114‐B
                             Description:      Royce, Richard, Mixed Media on paper, 20 x 26, family members, unframed

                              Aiston No.:      14622‐1‐0078
                          Reference No.:       SUPPAR10148
                                 AIQ No.:      Ref #:156‐D
                             Description:      Royce, Richard, Cast Paper, abstract, unframed

                              Aiston No.:      14622‐1‐0081
                          Reference No.:       SUPPAR10029
                                 AIQ No.:      Ref #:7‐74
                             Description:      Soucy, Brad, Print, 18 x 14, Lion, framed

                              Aiston No.:      14622‐1‐0083
                          Reference No.:       SUPPAR10043
                                 AIQ No.:      Ref #:56
                             Description:      Pechstein, Max, Watercolor on Paper, 12 x 16, 2 people, framed

                              Aiston No.:      14622‐1‐0084
                          Reference No.:       SUPPAR10070
                                 AIQ No.:      Ref #:58
                             Description:      Bonneh, Shmuel, Guache on paper, 27 x 20, abstract with man, horse & sword,

                              Aiston No.:      14622‐1‐0085
                          Reference No.:       SUPPAR10066
                                 AIQ No.:      Ref #:57
                             Description:      Rolling Stones Collection , Lithograph, 17 x 17, Bridges to Babylon, framed

                              Aiston No.:      14622‐1‐0086
                          Reference No.:       SUPPAR10035
                                 AIQ No.:      Ref #:43
                             Description:      Unknown, Monoprint , 13 x 10, reclining woman in style of Klimt, framed




Note: ID and Reference numbers may be changed or duplicated.
Re: Sawhney                                                                                                  05/03/21
       Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 41 of 64 PageID: 895
Items obtained from Aiston, now located at Asset IQ.                                                          page 9

                              Aiston No.:      14622‐1‐0087
                          Reference No.:       SUPPAR10115
                                 AIQ No.:      Ref #:65 (8)
                             Description:      Stamos, Theodorous, Lithograph, 30 x 38, abstract, unframed

                              Aiston No.:      14622‐1‐0087
                          Reference No.:       SUPPAR10116
                                 AIQ No.:      Ref #:65 (8)
                             Description:      Stamos, Theodorous, Lithograph, 30 x 38, abstract, unframed

                              Aiston No.:      14622‐1‐0087
                          Reference No.:       SUPPAR10117
                                 AIQ No.:      Ref #:65 (8)
                             Description:      Stamos, Theodorous, Lithograph, 30 x 38, abstract, unframed

                              Aiston No.:      14622‐1‐0087
                          Reference No.:       SUPPAR10118
                                 AIQ No.:      Ref #:65 (8)
                             Description:      Stamos, Theodorous, Lithograph, 30 x 38, abstract, unframed

                              Aiston No.:      14622‐1‐0087
                          Reference No.:       SUPPAR10119
                                 AIQ No.:      Ref #:65 (8)
                             Description:      Stamos, Theodorous, Lithograph, 30 x 38, abstract, unframed

                              Aiston No.:      14622‐1‐0087
                          Reference No.:       SUPPAR10120
                                 AIQ No.:      Ref #:65 (8)
                             Description:      Stamos, Theodorous, Lithograph, 30 x 38, abstract, unframed

                              Aiston No.:      14622‐1‐0087
                          Reference No.:       SUPPAR10121
                                 AIQ No.:      Ref #:65 (8)
                             Description:      Stamos, Theodorous, Lithograph, 30 x 38, abstract, unframed

                              Aiston No.:      14622‐1‐0087
                          Reference No.:       SUPPAR10122
                                 AIQ No.:      Ref #:65 (8)
                             Description:      Stamos, Theodorous, Lithograph, 30 x 38, abstract, unframed




Note: ID and Reference numbers may be changed or duplicated.
Re: Sawhney                                                                                                            05/03/21
       Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 42 of 64 PageID: 896
Items obtained from Aiston, now located at Asset IQ.                                                                    page 10

                              Aiston No.:      14622‐1‐0088
                          Reference No.:       SUPPAR10072
                                 AIQ No.:      Ref #:64
                             Description:      Zadkine, Ossip, Lithograph, 27 x 21, Herakles, framed

                              Aiston No.:      14622‐1‐0090
                          Reference No.:       SUPPAR10090
                                 AIQ No.:      Ref #:61
                             Description:      Jenkins, Paul, double watercolor on paper, 30 x 10, abstract, framed

                              Aiston No.:      14622‐1‐0091
                          Reference No.:       SUPPAR10025
                                 AIQ No.:      Ref #:60
                             Description:      Dali, Lithograph, 12 x 9 , Divine Comedy Series, framed

                              Aiston No.:      14622‐1‐0094
                          Reference No.:       SUPPAR10026
                                 AIQ No.:      Ref #:141
                             Description:      Bonnard, Crayon on Paper, 7 x 7, Child, framed

                              Aiston No.:      14622‐1‐0095
                          Reference No.:       SUPPAR10038
                                 AIQ No.:      Ref #:140
                             Description:      Burliuk, Watercolor on Paper, 7 x 11, woman & horse, framed

                              Aiston No.:      14622‐1‐0096
                          Reference No.:       SUPPAR10024
                                 AIQ No.:      Ref #:143
                             Description:      Vesty, Ink on Paper, 19 x 17, Woman, framed

                              Aiston No.:      14622‐1‐0097
                          Reference No.:       SUPPAR10046
                                 AIQ No.:      Ref #:150
                             Description:      Attibuted to Pascin, Watercolor & Charcoal on Paper, standing person, framed

                              Aiston No.:      14622‐1‐0098
                          Reference No.:       SUPPAR10053
                                 AIQ No.:      Ref #:151
                             Description:      Attibuted to Pascin, Watercolor & Charcoal on Paper, sitting person, framed




Note: ID and Reference numbers may be changed or duplicated.
Re: Sawhney                                                                                                          05/03/21
       Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 43 of 64 PageID: 897
Items obtained from Aiston, now located at Asset IQ.                                                                 page 11

                              Aiston No.:      14622‐1‐0099
                          Reference No.:       SUPPAR10047
                                 AIQ No.:      Ref #:152
                             Description:      Hills, Laura Combs, Watercolor on Paper, building and tree, framed

                              Aiston No.:      14622‐1‐0100
                          Reference No.:       SUPPAR10034
                                 AIQ No.:      Ref #:129
                             Description:      Christy, Howard C, Watercolor on Paper, 14 x 10, Woman with hat, framed

                              Aiston No.:      14622‐1‐0101
                          Reference No.:       SUPPAR10023
                                 AIQ No.:      Ref #:39
                             Description:      Picasso, Pablo, Lithograph, 11 x 9, bull fighter and bull, framed,

                              Aiston No.:      14622‐1‐0102
                          Reference No.:       SUPPAR10033
                                 AIQ No.:      Ref #:40
                             Description:      Picasso, Pablo, Lithograph, 10 x 12, musicians at pond, framed,

                              Aiston No.:      14622‐1‐0103
                          Reference No.:       SUPPAR10064
                                 AIQ No.:      Ref #:41
                             Description:      Picasso, Pablo, Lithograph, dove, framed

                              Aiston No.:      14622‐1‐0104
                          Reference No.:       SUPPAR10020
                                 AIQ No.:      Ref #:105
                             Description:      Lebasque, Watercolor & Ink, 4 x 7, seated nude, framed

                              Aiston No.:      14622‐1‐0105
                          Reference No.:       SUPPAR10055
                                 AIQ No.:      Ref #:77
                             Description:      Book, La Guerre et La Paix

                              Aiston No.:      14622‐1‐0106
                          Reference No.:       SUPPAR10014
                                 AIQ No.:      Ref #:68
                             Description:      Kirchener, Pastel on Paper, 11 x 9, 2 figure study, framed




Note: ID and Reference numbers may be changed or duplicated.
Re: Sawhney                                                                                                            05/03/21
       Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 44 of 64 PageID: 898
Items obtained from Aiston, now located at Asset IQ.                                                                   page 12

                              Aiston No.:      14622‐1‐0107
                          Reference No.:       SUPPAR10133
                                 AIQ No.:      Ref #:7
                             Description:      Knox, Martin, Screenprint, framed

                              Aiston No.:      14622‐1‐0108
                          Reference No.:       SUPPAR10088
                                 AIQ No.:      Ref #:15
                             Description:      Royce, Richard, Lithograph, 17 x 13, abstract, framed

                              Aiston No.:      14622‐1‐0109
                          Reference No.:       SUPPAR10042
                                 AIQ No.:      Ref #:12
                             Description:      Picasso, Pablo , Ceramic Tile, 9 x 9, framed

                              Aiston No.:      14622‐1‐0110
                          Reference No.:       SUPPAR10069
                                 AIQ No.:      Ref #:11A
                             Description:      Picasso, Pablo , Ceramic Tile, 6 x 6, framed

                              Aiston No.:      14622‐1‐0111
                          Reference No.:       SUPPAR10166
                                 AIQ No.:      Ref #:7‐133
                             Description:      attributed to Richard Royce, acrylic on paper, framed

                              Aiston No.:      14622‐1‐0112
                          Reference No.:       SUPPAR10015
                                 AIQ No.:      Ref #:153
                             Description:      Giacometti, Pencil on Paper, 14 x 10, sketch, framed

                              Aiston No.:      14622‐1‐0115
                          Reference No.:       SUPPAR10151
                                 AIQ No.:      Ref #:142
                             Description:      Picasso, Crayon & Pastel Drawing, 32 x 23, Woman nursing baby, framed

                              Aiston No.:      14622‐1‐0116
                          Reference No.:       SUPPAR10067
                                 AIQ No.:      Ref #:131
                             Description:      Chagall, Offset Lithograph, 11 x 9, woman in black, framed




Note: ID and Reference numbers may be changed or duplicated.
Re: Sawhney                                                                                                           05/03/21
       Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 45 of 64 PageID: 899
Items obtained from Aiston, now located at Asset IQ.                                                                      page 13

                              Aiston No.:      14622‐1‐0119
                          Reference No.:       SUPPAR10083
                                 AIQ No.:      Ref #:118A
                             Description:      Delecroix, Print, 7 x 5, window, unframed

                              Aiston No.:      14622‐1‐0119
                          Reference No.:       SUPPAR10084
                                 AIQ No.:      Ref #:118B
                             Description:      Delecroix, Print, 7 x 5, trees in marsh, unframed

                              Aiston No.:      14622‐1‐0131
                          Reference No.:       SUPPAR10076
                                 AIQ No.:      Ref #:85
                             Description:      Cocteau, Jean, work on paper, 10 x 5, Monte Carlo, unframed

                              Aiston No.:      14622‐1‐0132
                          Reference No.:       SUPPAR10095
                                 AIQ No.:      Ref #:7‐87
                             Description:      Treiman, Etching, multiple people, unframed

                              Aiston No.:      14622‐1‐0134
                          Reference No.:       SUPPAR10135
                                 AIQ No.:      Ref #:83
                             Description:      Segonzac, Andre Dunoyer, Ink on Paper, 10 x 14, reclining nude, unframed

                              Aiston No.:      14622‐1‐0135
                          Reference No.:       SUPPAR10094
                                 AIQ No.:      Ref #:86A
                             Description:      Hasegawa, Work on Paper, Shuichi, unframed

                              Aiston No.:      14622‐1‐0136
                          Reference No.:       SUPPAR10104
                                 AIQ No.:      Ref #:96
                             Description:      Rosenquist, James, Etching, 18 x 36, abstract, unframed

                              Aiston No.:      14622‐1‐0137
                          Reference No.:       SUPPAR10105
                                 AIQ No.:      Ref #:95
                             Description:      Rosenquist, James, Etching, 18 x 36, abstract with ladder unframed




Note: ID and Reference numbers may be changed or duplicated.
Re: Sawhney                                                                                                           05/03/21
       Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 46 of 64 PageID: 900
Items obtained from Aiston, now located at Asset IQ.                                                                  page 14

                              Aiston No.:      14622‐1‐0138
                          Reference No.:       SUPPAR10106
                                 AIQ No.:      Ref #:94
                             Description:      Rosenquist, James, Etching, 18 x 36, abstract, unframed

                              Aiston No.:      14622‐1‐0140
                          Reference No.:       SUPPAR10136
                                 AIQ No.:      Ref #:87
                             Description:      Newton, Helmut, Photograph, 15 x 18, woman in red, unframed

                              Aiston No.:      14622‐1‐0141
                          Reference No.:       SUPPAR10092
                                 AIQ No.:      Ref #:145
                             Description:      Harold Altman Additions Poster, framed

                              Aiston No.:      14622‐1‐0142
                          Reference No.:       SUPPAR10137
                                 AIQ No.:      Ref #:91
                             Description:      Rosenquist, James, embossed screenprint, 17 x 12, NYU Logo, unframed

                              Aiston No.:      14622‐1‐0143
                          Reference No.:       SUPPAR10138
                                 AIQ No.:      Ref #:84
                             Description:      Royce, Richard, Monoprint, 14 x 21, Japanese Bridge, unframed

                              Aiston No.:      14622‐1‐0144
                          Reference No.:       SUPPAR10139
                                 AIQ No.:      Ref #:54
                             Description:      Book, Songs by George Harrison

                              Aiston No.:      14622‐2‐0001
                          Reference No.:       SUPPAR10009
                                 AIQ No.:      Ref #:I‐1
                             Description:      Kanga School, Gouache & Ink on Paper, 13 x 9, person & tree, framed

                              Aiston No.:      14622‐2‐0002
                          Reference No.:       SUPPAR10005
                                 AIQ No.:      Ref #:I‐2A
                             Description:      Mughal School, Gouache & Ink on Paper, 9 x 6, 2 seated women, framed




Note: ID and Reference numbers may be changed or duplicated.
Re: Sawhney                                                                                                             05/03/21
       Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 47 of 64 PageID: 901
Items obtained from Aiston, now located at Asset IQ.                                                                     page 15

                              Aiston No.:      14622‐2‐0003
                          Reference No.:       SUPPAR10021
                                 AIQ No.:      Ref #:I‐3
                             Description:      Mughal School, Gouache & Ink on Paper, 12 x 9, framed

                              Aiston No.:      14622‐2‐0004
                          Reference No.:       SUPPAR10126
                                 AIQ No.:      Ref #:I‐2B
                             Description:      Mughal School, Gouache & Ink on Paper, 9 x 6, 2 seated people, framed

                              Aiston No.:      14622‐2‐0005
                          Reference No.:       SUPPAR10012
                                 AIQ No.:      Ref #:I‐2C
                             Description:      Mughal School, Gouache & Ink on Paper, 9 x 6, 3 seated people, framed

                              Aiston No.:      14622‐2‐0006
                          Reference No.:       SUPPAR10004
                                 AIQ No.:      Ref #:I‐2D
                             Description:      Mughal School, Gouache & Ink on Paper, 9 x 6, 2 seated people, framed

                              Aiston No.:      14622‐2‐0011
                          Reference No.:       SUPPAR10013
                                 AIQ No.:      Ref #:I‐7
                             Description:      Mughal School, Gouache & Ink on Paper, 12 x 10, 3 seated people, framed

                              Aiston No.:      14622‐2‐0012
                          Reference No.:       SUPPAR10008
                                 AIQ No.:      Ref #:I‐19
                             Description:      Mughal School, Gouache & Ink on Paper, 13 x 9,, framed

                              Aiston No.:      14622‐2‐0013
                          Reference No.:       SUPPAR10065
                                 AIQ No.:      Ref #:I‐9
                             Description:      Mughal School, Gouache & Ink on Paper, 12 x 9, 3 seated people, framed

                              Aiston No.:      14622‐2‐0014
                          Reference No.:       SUPPAR10018
                                 AIQ No.:      Ref #:I‐10A
                             Description:      Mughal School, Gouache & Ink on Paper, 18 x 12, Vulture, framed




Note: ID and Reference numbers may be changed or duplicated.
Re: Sawhney                                                                                                             05/03/21
       Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 48 of 64 PageID: 902
Items obtained from Aiston, now located at Asset IQ.                                                                     page 16

                              Aiston No.:      14622‐2‐0015
                          Reference No.:       SUPPAR10016
                                 AIQ No.:      Ref #:I‐10B
                             Description:      Mughal School, Gouache & Ink on Paper,, 18 x 12, Song Bird, framed

                              Aiston No.:      14622‐2‐0016
                          Reference No.:       SUPPAR10190
                                 AIQ No.:      Ref #:I‐12
                             Description:      Kishangari 18th century, Distemper on Cloth Pichwai, 29 x 23, Shrinathji, framed

                              Aiston No.:      14622‐2‐0017
                          Reference No.:       SUPPAR10022
                                 AIQ No.:      Ref #:I‐11
                             Description:      Mughal School, Gouache & Ink on Paper, 12 x 9, Couple with Attendant, framed

                              Aiston No.:      14622‐2‐0018
                          Reference No.:       SUPPAR10050
                                 AIQ No.:      Ref #:I‐??
                             Description:      Bikaner School, Gouache & Ink on Paper, 12 x 7, Melancholy Maiden, framed

                              Aiston No.:      14622‐2‐0019
                          Reference No.:       SUPPAR10039
                                 AIQ No.:      Ref #:I‐14
                             Description:      Mughal School, Gouache & Ink on Paper, 12 x 9,, Woman of Rank, framed

                              Aiston No.:      14622‐2‐0020
                          Reference No.:       SUPPAR10036
                                 AIQ No.:      Ref #:I‐15
                             Description:      Mughal School, Gouache & Ink on Paper, 12 x 9, Man of Rank, framed

                              Aiston No.:      14622‐2‐0023
                          Reference No.:       SUPPAR50001
                                 AIQ No.:      Ref #:I‐18
                             Description:      Object‐ Cast Bronze Figure

                              Aiston No.:      14622‐2‐0025
                          Reference No.:       SUPPAR10093
                                 AIQ No.:      Ref #:I‐20
                             Description:      Modern Indian School, Gouache on Paper, 20 x 30, 2 registers of women, framed




Note: ID and Reference numbers may be changed or duplicated.
Re: Sawhney                                                                                                                  05/03/21
       Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 49 of 64 PageID: 903
Items obtained from Aiston, now located at Asset IQ.                                                                         page 17

                              Aiston No.:      14622‐2‐0026
                          Reference No.:       SUPPAR10091
                                 AIQ No.:      Ref #:I‐21
                             Description:      Kartik, Trivedi, Gouache on Paper, 20 x 20, Three Musicians, framed

                              Aiston No.:      14622‐2‐0027
                          Reference No.:       SUPPAR50002
                                 AIQ No.:      Ref #:I‐22
                             Description:      Object‐ Wood Carving Figure

                              Aiston No.:      14622‐2‐0037
                          Reference No.:       SUPPAR10060
                                 AIQ No.:      Ref #:I‐32A
                             Description:      British School, Gouache & Ink on Paper, 18 x 7, 4 Standing Figures in trad.

                              Aiston No.:      14622‐2‐0038
                          Reference No.:       SUPPAR10059
                                 AIQ No.:      Ref #:I‐32B
                             Description:      British School, Gouache & Ink on Paper, 18 x 7, 4 Standing Figures in trad.

                              Aiston No.:      14622‐2‐0040
                          Reference No.:       SUPPAR10011
                                 AIQ No.:      Ref #:I‐34
                             Description:      Indian Folk School, Gouache, 19 x 15, Nashringa Devi, framed

                              Aiston No.:      14622‐2‐0041
                          Reference No.:       SUPPAR10019
                                 AIQ No.:      Ref #:I‐38
                             Description:      Bikaner School, Gouache & Ink on Paper,, 16 x 12, seated lady of rank with parrot,

                              Aiston No.:      14622‐2‐0042
                          Reference No.:       SUPPAR10058
                                 AIQ No.:      Ref #:I‐41A
                             Description:      Mughal School, Watercolor & Gouache on Paper, 7 x 5, bird, framed

                              Aiston No.:      14622‐2‐0043
                          Reference No.:       SUPPAR10041
                                 AIQ No.:      Ref #:I‐41B
                             Description:      Mughal School, Watercolor & Gouache on Paper, 7 x 5, bird, framed




Note: ID and Reference numbers may be changed or duplicated.
Re: Sawhney                                                                                                            05/03/21
       Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 50 of 64 PageID: 904
Items obtained from Aiston, now located at Asset IQ.                                                                    page 18

                              Aiston No.:      14622‐2‐0044
                          Reference No.:       SUPPAR10074
                                 AIQ No.:      Ref #:I‐42A blue shorts on male
                             Description:      Mughal School, Gouache & Ink on Paper, 5 x 6, Erotic Scenes, unframed

                              Aiston No.:      14622‐2‐0045
                          Reference No.:       SUPPAR10075
                                 AIQ No.:      Ref #:I‐42B man wearing red and white
                             Description:      Mughal School, Gouache & Ink on Paper, 5 x 6, Erotic Scenes, unframed

                              Aiston No.:      14622‐2‐0046
                          Reference No.:       SUPPAR10073
                                 AIQ No.:      Ref #:I‐43
                             Description:      Kangra School, Gouache & Ink on Paper, 9 x 7, Krishna & Radna, unframed

                              Aiston No.:      14622‐2‐0047
                          Reference No.:       SUPPAR10132
                                 AIQ No.:      Ref #:I‐45
                             Description:      Late Mughal School, Gouache on Paper, 14 x 23, The Heritage of Shiva, unframed

                              Aiston No.:      14622‐2‐0049
                          Reference No.:       SUPPAR50003
                                 AIQ No.:      Ref #:57
                             Description:      Object‐ Stone Figurine on Base

                              Aiston No.:      14622‐2‐0050
                          Reference No.:       SUPPAR10032
                                 AIQ No.:      Ref #:I‐39
                             Description:      Mewari School, Gouache & Ink on Paper,, 14 x 10, Hunters at a Ponds Edge,

                              Aiston No.:      14622‐2‐0051
                          Reference No.:       SUPPAR10051
                                 AIQ No.:      Ref #:I‐40A
                             Description:      Northern Indian School, Gouache & Ink on Paper, 10 x 7, Erotic Scenes, framed

                              Aiston No.:      14622‐2‐0052
                          Reference No.:       SUPPAR10052
                                 AIQ No.:      Ref #:I‐40B
                             Description:      Northern Indian School, Gouache & Ink on Paper, 10 x 7, Erotic Scenes, framed




Note: ID and Reference numbers may be changed or duplicated.
Re: Sawhney                                                                                                              05/03/21
       Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 51 of 64 PageID: 905
Items obtained from Aiston, now located at Asset IQ.                                                                      page 19

                              Aiston No.:      14622‐2‐0053
                          Reference No.:       SUPPAR10061
                                 AIQ No.:      Ref #:I‐40C
                             Description:      Northern Indian School, Gouache & Ink on Paper, 10 x 7, Erotic Scenes, framed

                              Aiston No.:      14622‐2‐0055
                          Reference No.:       SUPPAR10017
                                 AIQ No.:      Ref #:I‐58
                             Description:      Gouache & Ink on Paper, 17 x 10, seated man of rank, framed

                              Aiston No.:      14622‐2‐0056
                          Reference No.:       SUPPAR50004
                                 AIQ No.:      Ref #:I‐46
                             Description:      Object, Marble Figure

                              Aiston No.:      14622‐2‐0057
                          Reference No.:       SUPPAR10125
                                 AIQ No.:      Ref #:I‐36
                             Description:      Kangra Scholl, Gouache & Ink on Paper, 5 x 10, Krishna & Gopis, unframed

                              Aiston No.:      14622‐2‐0058
                          Reference No.:       SUPPAR10131
                                 AIQ No.:      Ref #:I‐35
                             Description:      Korean Yi School, Goauche on Paper, 17 x 10, Seated Man of rank, framed

                              Aiston No.:      14622‐2‐0059
                          Reference No.:       SUPPAR10123
                                 AIQ No.:      Ref #:I‐9A
                             Description:      Mughal School, Gouache & Ink on Paper, 12 x 9, 2 people embracing, framed

                              Aiston No.:      14622‐2‐0060
                          Reference No.:       SUPPAR10124
                                 AIQ No.:      Ref #:I‐9B
                             Description:      Mughal School, Gouache & Ink on Paper, 12 x 9, 2 people embracing, framed

                              Aiston No.:      14622‐2‐0062
                          Reference No.:       SUPPAR10127
                                 AIQ No.:      Ref #:504‐ I‐Kangra
                             Description:      I‐Kangra, Guache & Ink on Paper, 5 x 10, unframed




Note: ID and Reference numbers may be changed or duplicated.
Re: Sawhney                                                                                                           05/03/21
       Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 52 of 64 PageID: 906
Items obtained from Aiston, now located at Asset IQ.                                                                  page 20

                              Aiston No.:      14622‐2‐0063
                          Reference No.:       SUPPAR10129
                                 AIQ No.:      Ref #:I‐Reddy Print‐1
                             Description:      Reddy, Krishna, Lithograph, abstract, unframed

                              Aiston No.:      14622‐2‐0064
                          Reference No.:       SUPPAR10142
                                 AIQ No.:      Ref #:I‐Reddy Print‐4
                             Description:      Reddy, Krishna, Intaglio Print, Apu Crawling, unframed

                              Aiston No.:      14622‐2‐0065
                          Reference No.:       SUPPAR10141
                                 AIQ No.:      Ref #:I‐Reddy Print‐3
                             Description:      Reddy, Krishna, Intaglio Print, "Three Graces", unframed

                              Aiston No.:      14622‐2‐0066
                          Reference No.:       SUPPAR10140
                                 AIQ No.:      Ref #:I‐Reddy Print‐2
                             Description:      Reddy, Krishna, Intaglio Print, "Clown & the Flying Swans", unframed

                              Aiston No.:      14622‐2‐0067
                          Reference No.:       SUPPAR10128
                                 AIQ No.:      Ref #:147
                             Description:      Cove, Rosemary, Ink & Oil on Rag , Trackless, unframed

                              Aiston No.:      14622‐2‐0068
                          Reference No.:       SUPPAR50005
                                 AIQ No.:      Ref #:I‐48
                             Description:      Textile, 3‐pieces

                              Aiston No.:      14622‐2‐????
                          Reference No.:       SUPPAR10006
                                 AIQ No.:      Ref #:I‐??
                             Description:      Gouache & Ink on Paper, Women under awning




Note: ID and Reference numbers may be changed or duplicated.
Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 53 of 64 PageID: 907




                        Exhibit E
                     Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 54 of 64 PageID: 908


               Item/Object #                               Description                    Side Mark/Sale
14622-4-0001                         Noland
14622-4-0002                         Noland
14622-3-0001                         Item # 54                            EX NY APT
14622-3-0002                         Item #   55                          EX NY APT
14622-3-0003                         Item #   50                          EX NY APT
14622-3-0004                         Item #   51                          EX NY APT
14622-3-0005                         Item #   49                          EX NY APT
14622-3-0006                         Item #   De Kooning                  EX NY APT
14622-3-0007                         Item #   Blanco                      EX NY APT
14622-3-0008                         Item #   CC Cooper                   EX NY APT
14622-3-0009                         Item #   24                          EX NY APT
14622-2-0007                         Inventory Item #4                    Indian Art
14622-2-0008                         Inventory Item #5                    Indian Art
14622-2-0009                         Inventory Item #6A                   Indian Art
14622-2-0010                         Inventory Item #6B                   Indian Art
14622-2-0021                         Inventory Item #16                   Indian Art
14622-2-0022                         Inventory Item #17                   Indian Art
14622-2-0024                         Inventory Item #19                   Indian Art
14622-2-0028                         Inventory Item #23                   Indian Art
14622-2-0029                         Inventory Item #24                   Indian Art
14622-2-0030                         Inventory Item #25                   Indian Art
14622-2-0031                         Inventory Item #26                   Indian Art
14622-2-0032                         Inventory Item #27                   Indian Art
14622-2-0033                         Inventory Item #28                   Indian Art
14622-2-0034                         Inventory Item #29                   Indian Art
14622-2-0035                         Inventory Item #30                   Indian Art
14622-2-0036                         Inventory Item #31                   Indian Art
14622-2-0039                         Inventory Item #33                   Indian Art
14622-2-0048                         Inventory Item #48                   Indian Art
14622-2-0054                         Inventory Item #47                   Indian Art
14622-2-0061                         Inventory Item #37                   Indian Art
14622-1-0001                         Inventory Item #135
14622-1-0003                         Inventory Item #1
14622-1-0004                         Inventory Item #2
14622-1-0007                         Inventory Item #5
14622-1-0008                         Inventory Item #6
14622-1-0009                         Inventory Item #9
14622-1-0010                         Inventory Item #10
14622-1-0012                         Inventory Item #13
14622-1-0024                         Inventory Item #29
14622-1-0029                         Inventory Item #47
14622-1-0031                         Inventory Item #28
14622-1-0032                         Inventory Item #32
14622-1-0035                         Inventory Item #48
               Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 55 of 64 PageID: 909


14622-1-0036                   Inventory Item #45
14622-1-0037                   Inventory Item #50
14622-1-0038                   Inventory Item #38
14622-1-0039                   Inventory Item #36
14622-1-0040                   Inventory Item #148
14622-1-0043                   Inventory Item #66
14622-1-0045                   Inventory Item #104
14622-1-0046                   Inventory Item #121
14622-1-0047                   Inventory Item #123
14622-1-0054                   Inventory Item #128
14622-1-0057                   Inventory Item #144
14622-1-0063                   Inventory Item #124
14622-1-0076                   Inventory Item #53
14622-1-0077                   Inventory Item #160
14622-1-0079                   Inventory Item #158
14622-1-0080                   Inventory Item #161
14622-1-0082                   Inventory Item #132
14622-1-0089                   Inventory Item #62
14622-1-0092                   Inventory Item #45
14622-1-0093                   Inventory Item #44
14622-1-0111                   Inventory Item #8
14622-1-0113                   Inventory Item #38
14622-1-0114                   Inventory Item # Segal
14622-1-0117                   Inventory Item # Destroyed painting
14622-1-0118                   Inventory Item #L Rivers
14622-1-0120                   Inventory Item #136
14622-1-0133                   Inventory Item #82
14622-1-0139                   Inventory Item #88
14622-1-0145                   Inventory Item # 157
Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 56 of 64 PageID: 910




                        Exhibit F
                      Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 57 of 64 PageID: 911
                                                                      Page 1 of 2

                            A                                B                       C                D                        E

1 Sawhney Claim#: 047519006886 D/L:02/25/19
                                                                               Row# on      Location Seen by
2              Item on Missing list                         ID#              spreadsheet         AIQ**                Date Seen by AIQ
     Letters from various swamis                        SUPPM52088                  4595        house‐library             11/18/2020
3
     Photography from Beatles visit with
                                                        SUPPMD51565                 1827     house‐room off pool           11/5/2020
4 maharishi, approx 7

     Photo George & Paul signed                         SWMD53001                   5179    house‐upstairs hallway         1/4/2021
5

     Photo from Louise Harrison to Ramesh                                                    not presented to AIQ     not presented to AIQ
6

     Doorbell reaching for at time Lennon killed                                             not presented to AIQ     not presented to AIQ
7

     Beatles Birth Certificates (qty 4)                 SUPPMD51738                 3179    house‐upstairs hallway        11/11/2020
8
  George Harrison & Ravi Shankar signed
                                                                                             not presented to AIQ     not presented to AIQ
9 photo for album cover
                                                                                             house‐dining room,
     Gloria Lynne documents                        SUPPMD51588 plus others    1995‐2033                                    11/5/2020
10                                                                                              inside chest
     RKS prototype guitar                               SUPPCO51562                 1803     house‐room off pool           11/5/2020
11

     RKS prototype guitar                               SUPPCO51563                 1811     house‐room off pool           11/5/2020
12

     18th century kangra painting                                                            not presented to AIQ     not presented to AIQ
13
                                                                                           house‐dining room inside
     17th century manuscript                            SUPPRS51587                 1987                                   11/5/2020
14                                                                                                  chest
     McCartney photo by Kircherr                        SWMD53080                   5811    house‐upstairs hallway         1/4/2021
15

     Raphael Soyer painting                                                                    not seen by AIQ          not seen by AIQ
16
                     Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 58 of 64 PageID: 912
                                                             Page 2 of 2

                         A                          B                       C                D                       E

1 Sawhney Claim#: 047519006886 D/L:02/25/19
                                                                     Row# on       Location Seen by
2             Item on Missing list                ID#              spreadsheet          AIQ**               Date Seen by AIQ
     Moses Soyer drawing                                                           not presented to AIQ     not presented to AIQ
17

     Moses Soyer painting                      SUPPAR10170                 1451           Aiston
18

     Moses Soyer painting                      SUPPAR10185                 1571           Aiston
19

     Kenneth Nolan Sculpture                   SWAR21035                   n/a          house‐ attic             3/1/2019
20

     Kenneth Nolan Sculpture                   SWAR21036                   n/a          house‐ attic             3/1/2019
21

     Kenneth Nolan Sculpture                    SNAR10018                  n/a          house‐ attic             3/1/2019
22
                                                                                  house‐ upstairs bedroom
     Marisol Sculpture                         SUPPAR51741                 3203                                 11/11/2020
23                                                                                         closet
     Sunfist Sculpture                                                             not presented to AIQ     not presented to AIQ
24

     Mogul Drawing of bathing woman                                                not presented to AIQ     not presented to AIQ
25

     Edgar Payne Oil painting                  SUPPAR10178                 1515           Aiston                  8/2020
26
     Bougerau and Eva Gardner hand colored
                                               SUPPAR10087                 787              AIQ                   8/2020
27 piece
   ** Location as seen by AIQ is not
28 necessarily where the item was originally
Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 59 of 64 PageID: 913




                          Exhibit G
Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 60 of 64 PageID: 914
                                                       (DVWHUQ&ODLP6HUYLFH&HQWHU   7HO  
                                                       ,QGHSHQGHQFH3DUNZD\       )D[  
                                                       &KHVDSHDNH9$           ZLOOLDPPFFXGGHQ#FKXEEFRP
  CHUBB'                                                                               ZZZFKXEEFRPXVHQFODLPV



  0D\

  5DPHVK6DZKQH\DQG1LQD%KDUGZDM
  2DN%HQG5G6
  :HVW2UDQJH1-

  5H    ,QVXUHG                 5DPHVK6DZKQH\DQG1LQD%KDUGZDM
          &ODLP1XPEHU           
          3ROLF\1XPEHU           
          /RVV/RFDWLRQ           2DN%HQG5G6:HVW2UDQJH1- 
          'DWHRI/RVV            )HEUXDU\
          ,QVXUDQFH&RPSDQ\       &KXEE,QVXUDQFH&RPSDQ\RI1HZ-HUVH\

  'HDU5DPHVK6DZKQH\DQG1LQD%KDUGZDM


  &KXEE 3HUVRQDO 5LVN 6HUYLFHV SURYLGHV \RX ZLWK KRPHRZQHU¶V FRYHUDJH VXEMHFW WR WKH WHUPV
  DQGFRQGLWLRQVRI\RXUSROLF\WKURXJKDKRPHRZQHU¶VSROLF\XQGHUZULWWHQE\ &KXEE,QVXUDQFH
  &RPSDQ\RI1HZ-HUVH\7KLV3ROLF\LVLQHIIHFWIURP  WKURXJK 

  :HDFNQRZOHGJHWKDWRQ)HEUXDU\ ZHUHFHLYHG\RXUFODLPIRUGDPDJHWR\RXUKRPHDW
  2DN%HQG5G6:HVW2UDQJH1-ZKLFKUHSRUWHGO\RFFXUUHGRQ)HEUXDU\
  7KHORVVGHVFULSWLRQLQGLFDWHGWKDW DIDOOHQWUHHKDG FDXVHGGDPDJHWR\RXUKRPH

  :HKDYHEHHQPDGHDZDUHWKDWDGGLWLRQDODUWGDPDJH LVQRZEHLQJFODLPHG

  $V\RXULQVXUHUZHUHFRJQL]HRXUREOLJDWLRQWRWKRURXJKO\LQYHVWLJDWHHDFKORVVUHSRUWHGWRXVWR
  GHWHUPLQHZKHWKHUIDFWVPD\H[LVWWKDWZLOODOORZFRYHUDJHWREHDIIRUGHGXQGHUWKHWHUPVRIWKH
  SROLF\2XULQYHVWLJDWLRQLQWRWKHFLUFXPVWDQFHVRI\RXUFODLPHGORVVLVRQJRLQJDQGXQGHUWDNHQ
  VXEMHFW WR D UHVHUYDWLRQ RI RXU ULJKWV XQGHU WKH SROLF\  $OWKRXJK RXU LQYHVWLJDWLRQ LV QRW \HW
  FRPSOHWHZHZRXOGOLNHWREHVXUH\RXDUHDZDUHRIFHUWDLQSROLF\ODQJXDJHDWWKHRXWVHWZKLFK
  PD\OLPLWFRYHUDJHIRUDOORUSDUWRI\RXUORVV

  3OHDVHUHIHUWRSDJHV < WKURXJK<RIWKH0DVWHUSLHFH3ROLF\7HUPVIRUPZKLFKVWDWHVLQ
  UHOHYDQWSDUWWKHIROORZLQJ


      3URSHUW\&RQGLWLRQV
      7KHVHFRQGLWLRQVDSSO\WRDOOFRYHUDJHIRUGDPDJHWRSURSHUW\

      2WKHULQVXUDQFH
      :KHQRWKHUSURSHUW\LQVXUDQFHDSSOLHVWRDFRYHUHGORVVZHZLOOSD\RQO\WKHSRUWLRQRIWKH
      ORVVWKDWWKHDPRXQWRIFRYHUDJHXQGHUWKLVSROLF\EHDUVWRWKHWRWDODPRXQWRILQVXUDQFH
      FRYHULQJWKHORVVH[FHSWDVIROORZV




                                                                              CHUBB INS. CO. OF NJ 003327
                                                                                                                    047519006886
Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 61 of 64 PageID: 915
                                                 (DVWHUQ&ODLP6HUYLFH&HQWHU   7HO  
                                                 ,QGHSHQGHQFH3DUNZD\       )D[  
                                                 &KHVDSHDNH9$           ZLOOLDPPFFXGGHQ#FKXEEFRP
  CHUBB'                                                                         ZZZFKXEEFRPXVHQFODLPV



     &RQGRPLQLXPVDQG&RRSHUDWLYHV,IWKHUHLVRWKHULQVXUDQFHLQWKHQDPHRIWKH
     FRQGRPLQLXPRUFRRSHUDWLYHDVVRFLDWLRQFRYHULQJWKHVDPHSURSHUW\FRYHUHGE\XVRXU
     FRYHUDJHV KDOOEHLQH[FHVVRIWKHRWKHULQVXUDQFH

     9DOXDEOHDUWLFOHV,IWKHUHLVRWKHULQVXUDQFHLQWKHQDPHRIDFRQVLJQRUJDOOHU\DXFWLRQ
     KRXVHRUPXVHXPFRYHULQJWKHVDPHSURSHUW\FRYHUHGE\XVRXUFRYHUDJHVKDOOEHLQH[FHVV
     RIDORVVFRYHUHGXQGHUWKHRWKHULQVXUDQFH

     <RXUGXWLHVDIWHUDORVV
     ,I\RXKDYHDORVVWKLVSROLF\PD\FRYHU\RXPXVWSHUIRUPWKHVHGXWLHV

     1RWLILFDWLRQ<RXPXVWLPPHGLDWHO\QRWLI\XVRU\RXUDJHQWRI\RXUORVV,QFDVHRIWKHIWRU
     DFFLGHQW\RXPXVWDOVRQRWLI\WKHSROLFHRUVLPLODUFRPSHWHQWDXWKRULW\

     3URWHFWSURSHUW\<RXPXVWWDNHDOOUHDVRQDEOHPHDQVWKDWDUHQHFHVVDU\WRSURWHFWSURSHUW\
     IURPIXUWKHUORVVRUGDPDJH

     3UHSDUHDQLQYHQWRU\<RXPXVWSUHSDUHDQLQYHQWRU\RIGDPDJHGSHUVRQDOSURSHUW\
     GHVFULELQJ WKHSURSHUW\LQIXOO,WVKRXOGVKRZLQGHWDLOWKHDPRXQWLQVXUHGXQGHUWKLVSROLF\
     DQGDFWXDO DPRXQW RIWKHORVV$WWDFKELOOVUHFHLSWVDQGRWKHUGRFXPHQWVWRVXSSRUW\RXU
     LQYHQWRU\

     'LVSOD\SURSHUW\<RXPXVWVKRZXVWKHGDPDJHGSURSHUW\ZKHQZHDVN

     ([DPLQDWLRQXQGHURDWK:HKDYHWKHULJKWWRH[DPLQHVHSDUDWHO\XQGHURDWKDVRIWHQDVZH
     PD\ UHDVRQDEO\UHTXLUH\RXIDPLO\PHPEHUVDQGDQ\RWKHUPHPEHUVRI\RXUKRXVHKROGDQG
     KDYHWKHP VXEVFULEHWKHVDPH:HPD\DOVRDVN\RXWRJLYHXVDVLJQHGGHVFULSWLRQRIWKH
     FLUFXPVWDQFHV VXUURXQGLQJDORVVDQG\RXULQWHUHVWLQLWDQGWRSURGXFHDOOUHFRUGVDQG
     GRFXPHQWVZHUHTXHVWDQG SHUPLWXVWRPDNHFRSLHV

     3URRIRIORVV<RXPXVWVXEPLWWRXVZLWKLQGD\VDIWHUZHUHTXHVW\RXUVLJQHGVZRUQ
     SURRIRI ORVVZKLFKGRFXPHQWVWRWKHEHVWRI\RXUNQRZOHGJHDQGEHOLHI
        x WKHWLPHDQGFDXVHRIORVV
        x LQWHUHVWRIWKHLQVXUHGDQGDOORWKHUVLQWKHSURSHUW\LQYROYHGDQGDOOOLHQVFODLPVDQG
            REOLJDWLRQVRQWKHSURSHUW\
        x RWKHULQVXUDQFHZKLFKPD\FRYHUWKHORVV
        x FKDQJHVLQWLWOHRURFFXSDQF\RIWKHSURSHUW\GXULQJWKHWHUPRIWKHSROLF\
        x VSHFLILFDWLRQVRIDQ\GDPDJHGEXLOGLQJDQGGHWDLOHGHVWLPDWHVIRUUHSDLURIWKH
            GDPDJH
        x DQLQYHQWRU\RIGDPDJHGSHUVRQDOSURSHUW\
        x UHFHLSWVIRUDGGLWLRQDOOLYLQJH[SHQVHVLQFXUUHGDQGUHFRUGVVXSSRUWLQJWKHIDLUUHQWDO
            YDOXHORVV
        x HYLGHQFHRUDIILGDYLWVXSSRUWLQJDFODLPXQGHUWKH&UHGLW&DUG)RUJHU\DQG
            &RXQWHUIHLW0RQH\FRYHUDJHVWDWLQJWKHDPRXQWDQGFDXVHRIORVV



                                                                        CHUBB INS. CO. OF NJ 003328
                                                                                                              047519006886
Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 62 of 64 PageID: 916
                                                       (DVWHUQ&ODLP6HUYLFH&HQWHU   7HO  
                                                       ,QGHSHQGHQFH3DUNZD\       )D[  
                                                       &KHVDSHDNH9$           ZLOOLDPPFFXGGHQ#FKXEEFRP
  CHUBB'                                                                               ZZZFKXEEFRPXVHQFODLPV



  3OHDVHUHIHUWRSDJH<RIWKH0DVWHUSLHFH3ROLF\7HUPVIRUPZKLFKVWDWHVLQUHOHYDQWSDUWWKH
  IROORZLQJ

      6SHFLDO&RQGLWLRQV

      ,QWKHHYHQWRIFRQIOLFWZLWKDQ\ RWKHUFRQGLWLRQVRI\RXUSROLF\WKHVHFRQGLWLRQVVXSHUVHGH

      /HJDODFWLRQDJDLQVWXV
      <RXDJUHHQRWWREULQJOHJDODFWLRQDJDLQVWXVXQOHVV\RXKDYHILUVWFRPSOLHGZLWKDOO
      FRQGLWLRQVRI WKLVSROLF\)RUSURSHUW\\RXDOVRDJUHHWREULQJDQ\DFWLRQDJDLQVWXVZLWKLQ
      WZR\HDUVDIWHUDORVV RFFXUVEXWQRWXQWLOGD\VDIWHUSURRIRIORVVKDVEHHQVXEPLWWHGWRXV
      DQGWKHDPRXQWRIORVV KDVEHHQGHWHUPLQHG )RUOLDELOLW\\RXDOVRDJUHHQRWWREULQJDQ\
      DFWLRQDJDLQVWXVXQWLOWKHREOLJDWLRQKDVEHHQ GHWHUPLQHGE\ILQDOMXGJHPHQWRUDZULWWHQ
      DJUHHPHQWE\XV

      $SSUDLVDOV
      ,I\RXRUZHIDLOWRDJUHHRQWKHDPRXQWRIORVV\RXRUZHPD\GHPDQGDQDSSUDLVDORIWKH
      ORVV (DFKSDUW\ZLOOVHOHFWDQDSSUDLVHUZLWKLQGD\VDIWHUUHFHLYLQJZULWWHQUHTXHVWIURP
      WKHRWKHU7KH WZRDSSUDLVHUVZLOOVHOHFWDWKLUGDSSUDLVHU,IWKH\FDQQRWDJUHHRQDWKLUG
      DSSUDLVHUZLWKLQGD\V \RXRUZHPD\UHTXHVWWKDWWKHVHOHFWLRQEHPDGHE\DMXGJHRID
      FRXUWKDYLQJMXULVGLFWLRQ:ULWWHQ DJUHHPHQWVLJQHGE\DQ\WZRRIWKHWKUHHDSSUDLVHUVVKDOO
      VHWWKHDPRXQWRIWKHORVV+RZHYHUWKH PD[LPXPDPRXQWZHZLOOSD\IRUDORVVLVWKH
      DSSOLFDEOHDPRXQWRIFRYHUDJHHYHQLIWKHDPRXQWRI WKHORVVLVGHWHUPLQHGWREHJUHDWHUE\
      DSSUDLVDO(DFKDSSUDLVHUZLOOEHSDLGE\WKHSDUW\VHOHFWLQJ WKHDSSUDLVHU2WKHUH[SHQVHVRI
      WKHDSSUDLVDODQGWKHFRPSHQVDWLRQRIWKHWKLUGDSSUDLVHUVKDOOEH VKDUHGHTXDOO\E\\RXDQG
      XV:HGRQRWZDLYHRXUULJKWVXQGHUWKLVSROLF\E\DJUHHLQJWRDQ DSSUDLVDO


  7KLV OHWWHU LV ZULWWHQ WR QRWLI\ \RX WKDW WKHUH LV D TXHVWLRQ RI FRYHUDJH UHJDUGLQJ WKH GDPDJH
  UHSRUWHGEDVHGXSRQWKHSROLF\H[FOXVLRQVTXRWHGDERYH7KHUHIRUHIXUWKHULQYHVWLJDWLRQRIWKH
  IDFWVVXUURXQGLQJWKLVFODLPLVUHTXLUHG

  &KXEE,QVXUDQFH&RPSDQ\RI1HZ-HUVH\ IXOO\UHVHUYHVDOOLWVULJKWVDQG REOLJDWLRQVXQGHUWKH
  3ROLF\ DQG QHLWKHU WKLV FRUUHVSRQGHQFH QRU DQ\ RWKHU DFWLRQV WDNHQ E\ P\VHOI RU DQ\ RWKHU
  UHSUHVHQWDWLYHRILVWREHFRQVWUXHGDVDZDLYHURIDQ\3ROLF\FRQGLWLRQVOLPLWDWLRQVSURYLVLRQV
  RUH[FOXVLRQVDZDLYHURIWKHLQVXUHG¶VULJKWVRUREOLJDWLRQVXQGHUWKH3ROLF\RUDZDLYHURIDQ\
  GHIHQVHVSUHVHQWO\RUKHUHLQDIWHUDYDLODEOHWRXQGHUWKH3ROLF\RURWKHUZLVH




                                                                              CHUBB INS. CO. OF NJ 003329
                                                                                                                    047519006886
Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 63 of 64 PageID: 917
                                                 (DVWHUQ&ODLP6HUYLFH&HQWHU   7HO  
                                                 ,QGHSHQGHQFH3DUNZD\       )D[  
                                                 &KHVDSHDNH9$           ZLOOLDPPFFXGGHQ#FKXEEFRP
  CHUBB'                                                                         ZZZFKXEEFRPXVHQFODLPV



  ,IWKHUHLVDQ\DGGLWLRQDOLQIRUPDWLRQWKDW\RXZLVKWRVXEPLWWRDVVLVWLQWKHDVVHVVPHQWRI\RXU
  FODLP SOHDVHSURYLGHLWWRXVDVVRRQDVSRVVLEOH


  6LQFHUHO\

  0LFKDHO0F&XGGHQ
  0LFKDHO0F&XGGHQ
  &ODLPV6SHFLDOLVW

   &HOO3KRQH
   )D[
  ZLOOLDPPFFXGGHQ#FKXEEFRP




                                                                        CHUBB INS. CO. OF NJ 003330
                                                                                                              047519006886
Case 2:21-cv-14675-KSH-LDW Document 18-3 Filed 01/21/22 Page 64 of 64 PageID: 918
                                                                 (DVWHUQ&ODLP6HUYLFH&HQWHU   7HO  
                                                                 ,QGHSHQGHQFH3DUNZD\       )D[  
                                                                 &KHVDSHDNH9$           ZLOOLDPPFFXGGHQ#FKXEEFRP
  CHUBB'                                                                                         ZZZFKXEEFRPXVHQFODLPV




                                                                        3ROLF\KROGHURU&ODLPDQW1RWLFH
                                                                  1HZ-HUVH\,QWHUQDO$SSHDOV3URFHGXUH
  :HVWULYHWRKDQGOHSURPSWO\DQGVDWLVIDFWRULO\HYHU\FODLPWKDWLVVXEPLWWHGWRXVEXWRFFDVLRQDOO\DGLVSXWHPD\
  DULVHEHWZHHQ \RXDQGWKHFODLPVUHSUHVHQWDWLYHUHVSRQVLEOHIRUKDQGOLQJWKHLQVXUDQFH FODLPWKDW\RXVXEPLW7R
  DGGUHVVWKLVSRVVLELOLW\&KXEEKDVLPSOHPHQWHGDQ,QWHUQDO$SSHDOV3URFHGXUHWRUHYLHZDQGUHVROYHGLVSXWHVWKDW
  PD\ DULVH IURP WKH VXEPLVVLRQ RI FODLPV H[FHSW WKRVH LQYROYLQJ 3HUVRQDO ,QMXU\ 3URWHFWLRQ RU KHDOWK LQVXUDQFH 
  3OHDVHWDNHWKHIROORZLQJVWHSVLI\RXZLVKWRKDYH\RXUFODLPUHYLHZHGE\WKLVSURFHVV

  +RZWKH,QWHUQDO$SSHDOV3URFHGXUH:RUNV

  <RXPD\VXEPLW\RXUGLVSXWHRUFRPSODLQWWR

  &KXEE1RUWK$PHULFD&ODLPV                                      3KRQH  
  $WWQ,QWHUQDO$SSHDO2IILFHU5RXWLQJ:%%                    )D[    
  :DOQXW6WUHHW                                               (PDLO 1-$SSHDOV#FKXEEFRP
  3KLODGHOSKLD3$

  7KH,QWHUQDO$SSHDOV2IILFHULVDYDLODEOHWRDVVLVW\RXZLWKLQIRUPDWLRQFRQFHUQLQJWKLVDSSHDOSURFHVV7KH,QWHUQDO
  $SSHDOV2IILFHPD\EHDEOHWRUHVROYH\RXUDSSHDOE\FRQWDFWLQJWKHPDQDJHURIWKHFODLPVUHSUHVHQWDWLYHKDQGOLQJ
  \RXUFODLP,QFDVHVZKHUHWKLVLVQRWSRVVLEOHWKHPDWWHUZLOOEHUHIHUUHGWRRXU,QWHUQDO$SSHDOV3DQHOIRUUHYLHZ
  DQG\RXZLOOUHFHLYHDOHWWHUIURPXVDGYLVLQJ\RXRIWKHUHIHUUDO

  7KH ,QWHUQDO $SSHDOV 3DQHO LV FRPSULVHG RI WKUHH VHQLRU FODLPV RIILFHUV ZKR DUH QRW RWKHUZLVH LQYROYHG LQ WKH
  KDQGOLQJ RI \RXU FODLP  7KH SDQHOLVWV ZLOO UHYLHZ DOO SHUWLQHQW LQIRUPDWLRQ FRQFHUQLQJ \RXU FODLP DQG PDNH D
  GHWHUPLQDWLRQUHJDUGLQJUHVROXWLRQRI\RXUDSSHDO

  'LVSRVLWLRQRI$SSHDOV

  <RXU DSSHDO ZLOO EH UHYLHZHG ZLWKLQ  EXVLQHVV GD\V IURP WKH GDWH ZH UHFHLYH LW DQG ZH ZLOO QRWLI\ \RX RI WKH
  GLVSRVLWLRQRI\RXUDSSHDOZLWKLQZRUNLQJGD\VRIWKHGDWHWKH,QWHUQDO$SSHDOV3DQHOPDNHVDGHWHUPLQDWLRQ,I
  \RXDUHQRWVDWLVILHGZLWKWKHUHVROXWLRQRI\RXUDSSHDO\RXPD\FRQWDFW

  2IILFHRI,QVXUDQFH&ODLPV2PEXGVPDQ
  1HZ-HUVH\'HSDUWPHQWRI%DQNLQJDQG,QVXUDQFH
  32%R[
  7UHQWRQ1-
  7HOHSKRQH
  )D[
  (PDLORPEXGVPDQ#GRELVWDWHQMXV




                                                                                        CHUBB INS. CO. OF NJ 003331
                                                                                                                                047519006886
